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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED                       MDL NO. 2047
DRYWALL PRODUCTS LIABILITY                        SECTION: L
LITIGATION                                        JUDGE FALLON
                                                  MAG. JUDGE WILKINSON
THIS DOCUMENT RELATES TO:

ALL ACTIONS (except The Mitchell Co.,
Inc. v. Knauf Gips KG, et al., Civil Action No.
09-4115 (E.D. La.))


   SETTLEMENT CLASS COUNSEL’S MEMORANDUM OF LAW IN SUPPORT
      OF THEIR MOTION FOR ENTRY OF AN ORDER AND JUDGMENT
      (1) GRANTING FINAL APPROVAL OF THE CLASS SETTLEMENT
      WITH TAISHAN AND (2) CERTIFYING THE SETTLEMENT CLASS
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        2       List of Opt-Out Plaintiffs

        3       Proposed Order of Dismissal

        4       Declaration of Class Counsel Sandra L. Duggan in Support of Settlement

        5       Florida Special Master Product ID Report & Recommendation (FLSD ECF
                No. 233)

        6       Plaintiffs’ Objections to and Appeal from Florida Special Master Product
                ID Report & Recommendation (FLSD ECF No. 253)

        7       Taishan’s Opposition to Plaintiffs’ Objections to Florida Special Master
                Product ID Report & Recommendation (FLSD ECF No. 277)

        8       Plaintiffs’ Reply in Support of Objections to Florida Special Master Product
                ID Report & Recommendation (FLSD ECF No. 297)

        9       Special Master’s Report & Recommendation Regarding Contests and
                Setoffs (FLSD ECF No. 266)

        10      Special Master’s Second Report & Recommendation Regarding Contests
                and Setoffs (FLSD ECF No. 268)

        11      Declaration of J. Cal Mayo, Jr.

        12      Declaration of Jacob S. Woody

        13      Declaration of Shannon R. Wheatman, Ph.D.

        14      Letter from Judge Fallon, docketed in Amorin in U.S.D.C. for the Southern
                District of Florida (FLSD ECF No. 336)

        15      Analytics of Settlement Website Data

        16      Affidavit of Class Representative David Griffin

        17      Affidavit of Class Representative Lillian Eyrich

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       18       Affidavit of Class Representative Michelle Germano

       19       Affidavit of Class Representative Virginia Tiernan

       20       Affidavit of Class Representative Debra Williams

       21       Affidavit of Class Representative Judd Mendelson

       22       Declaration of Class Counsel Arnold Levin

       23       Declaration of Class Counsel Stephen J. Herman

       24       Declaration of Class Counsel Patrick S. Montoya

       25       Declaration of Class Counsel Richard J. Serpe

       26       Email from Francisco Albites of Parker Waichman authorizing dismissal of
                Michael Guerriero’s Claims and Motion to Voluntarily Dismiss Certain
                Claims (FLSD ECF No. 81)

       27       Parker Waichman Notice of Objection to Mediation (FLSD ECF No. 239)




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I.        INTRODUCTION
          After ten years of contentious, hard-fought litigation on behalf of thousands of homeowners

alleging damages from Chinese Drywall, Settlement Class Counsel1 reached a negotiated class

settlement with Taishan Gypsum Company Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd. and

Taian Taishan Plasterboard Co. Ltd. (collectively “Taishan”),2 which was preliminarily approved

by this Court on August 29, 2019.3 The Settlement Class includes:

                  (1) all Class Members in the Amorin Class certified by Judge Fallon
                  in MDL No. 2047 in In re Chinese-Manufactured Prod. Liab. Litig.,
                  2014 WL 4809520 (E.D. La. Sept. 26, 2014) (“Amorin Plaintiffs”);
                  (2) all Plaintiffs who are named on one or more of the Brooke
                  Complaints4 (“Brooke Plaintiffs”); and (3) all other property owners
                  with Chinese Drywall alleged to be attributed to Taishan and/or the
                  Additional Released Parties5 (“absent Class Members”). Amorin
                  Plaintiffs and Brooke Plaintiffs are collectively referred to as
                  “known Class Members.”6

1
 Settlement Class Counsel are Arnold Levin, Stephen J. Herman, Richard J. Serpe, Patrick S. Montoya,
and Sandra L. Duggan. See Preliminary Approval Order [Rec. Doc. 22314], at ¶ 5.
2
 The Settlement Agreement with Taishan (the “Settlement Agreement”) is filed of record [see Rec. Doc.
22305-2]. Capitalized terms used in this Memorandum have the same meaning as those defined in the
Settlement Agreement.
3
    See Preliminary Approval Order [Rec. Doc. 22314].
4
  The operative Brooke Complaints are: Brooke, et al. v. The State-Owned Assets Supervision and
Administration Commission of the State Council, et al., Civ. Action No. 15-4127 (E.D. La.); Brooke, et al.
v. The State-Owned Assets Supervision and Administration Commission of the State Council, et al., Civ.
Action No. 15-6631 (S.D. Fla.) (Miami Case No. 15-24348); Brooke, et al. v. The State-Owned Assets
Supervision and Administration Commission of the State Council, et al., Civ. Action No. 15-6632 (E.D.
Va.) (Norfolk Case No. 15-506).
5
  The Additional Released Parties are: Beijing New Building Materials Public Limited Company
(“BNBM”); Beijing New Building Materials (Group) Co., Ltd. (“BNBM Group”); China National Building
Materials Co., Ltd. (“CNBM”); China National Building Materials Group Corporation (“CNBM Group”),
and the State-Owned Assets Supervision and Administration Commission of the State Council (“SASAC”).
6
  Preliminary Approval Order [Rec. Doc. 22314], at ¶ 3; Settlement Agreement [Rec. Doc. 22305-2], at §
1.1.1. EXCLUDED from the Class are: (1) Plaintiffs listed on Exhibit 1 to the Settlement Agreement
(Exhibit 1 includes 498 Plaintiffs who are included in a separate settlement agreement with Taishan); (2)
the named Plaintiff and putative class members in The Mitchell Co., Inc. v. Knauf Gips KG, et al., Civil
Action No. 09-4115 (E.D. La.); and (3) Plaintiffs who asserted Claims against Taishan and/or the Additional
Released Parties, but whose Claims were dismissed for failure to complete a Supplemental Plaintiff Profile
Form (“SPPF”) or by motion for voluntary dismissal. Id.


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          If approved, this Settlement will provide $248 million in cash for the benefit of all eligible

Amorin Plaintiffs, all eligible Brooke Plaintiffs, and all eligible absent Class Members.7 The

overwhelming majority of Class Members – more than 97% – support the Settlement. In fact, out

of 3,948 known Class Members, only 78 have opted out8 and only 22 submitted an Objection.9

          Under the Settlement, the distribution of Allocation Amounts to Eligible Class Members,

based on the application of Objective Criteria under an Allocation Model, can and will be made

within a few months after the Effective Date of the Settlement, since most Class Members are

already identified on a Master Spreadsheet filed with the Court and no Claim Form is required for

them.10

          This Memorandum of Law is submitted by Settlement Class Counsel in support of their

Motion for Final Approval of the Settlement and Certification of the Settlement Class pursuant to

Federal Rules of Civil Procedure 23(a), 23(b)(3) and 23(e). The Parties seek entry of an Order and




7
 See Settlement Agreement [Rec. Doc. 22305-2], at §§ 1.13, 4.1. Subject to Court approval, certain fees
and costs will be deducted from the Settlement Fund. See id. at §§ 4.1.1, 8.2.1, 16.1, 16.2.
8
  See Notice of Filing of Opt-Outs [Rec. Doc. 22388]. Not every Opt-Out request received by Settlement
Class Counsel complied with § 9 of the Settlement Agreement. The requests filed at Rec. Docs. 22388-5,
22388-30, 22388-54, 22388-55 and 22388-88 purported to include parties who did not sign the request as
required by § 9.2.1 of the Settlement Agreement (“Individual Class Members who desire to opt out must
request to opt out and must sign a pleading seeking exclusion from the Settlement.” (emphasis added)). The
request filed at Rec. Doc. 22388-90 was not postmarked within the 90-day period pursuant to §§ 9.1.1 and
9.2.1 and was submitted and signed by Mark Floman in his individual capacity for an Affected Property for
which the known Class Member is an LLC (M and M the Closers, LLC). Therefore, opt-out requests that
did not comply with § 9 of the Settlement Agreement are not included in the opt-out totals or the list of opt-
outs submitted herewith. Notice of these non-compliant opt-out requests has been sent to Jimmy Doyle,
counsel of record for the parties identified on the non-compliant opt-out requests [Rec. Docs. 22388-5,
22388-30, 22388-54, 22388-55 and 22388-88].
9
 See Notice of Filing of Objections [Rec. Doc. 22389]. In addition to the 22 Objections from known Class
Members, 5 Objections were submitted by non-Class Members. See Section III.G.5, infra.
10
  See Settlement Agreement [Rec. Doc. 22305-2], at §§ 12.1.4, 12.1.5. For absent Class Members and any
other Class Members not listed on the Master Spreadsheet, the completion of a simple Claim Form with
Objective Criteria is required. See id. at § 12.1.5; Claim Form [Rec. Doc. 22305-6].


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Judgment11 finding that the Settlement is fair, reasonable and adequate, that the Settlement was

negotiated and entered into in good faith and without collusion, and that the Settlement should be

approved pursuant to Fed. R. Civ. P. 23(e) because: (A) the Class Representatives and Settlement

Class Counsel have adequately represented the Class; (B) the Settlement Agreement was

negotiated at arm’s length; (C) the relief provided for the Class is adequate, taking into account:

(i) the costs, risks, and delay of trials and appeals; (ii) the effectiveness of the proposed method of

distributing Allocation Amounts to Eligible Class Members, including the method of processing

Class Member claims; (iii) the terms of the proposed award of attorneys’ fees, including timing of

payment12; and (iv) the absence of any agreement required to be identified under Rule 23(e)(3);

and (D) the Settlement and the Allocation Model developed by the Allocation Neutral approved

by the Court treat Class Members equitably relative to each other. In addition, Settlement Class

Counsel seek certification of the Settlement Class under Rule 23(a) and Rule 23(b)(3) and also

incentive awards for the Priority Plaintiffs in Florida who are Class Members, the Select Claimants

in Louisiana who are Class Members, and the Settlement Class Representatives.

          Further, Settlement Class Counsel respectfully request that the Court approve the Class

Release and bar provision provided in Section 5.2 of the Settlement and the Taishan Release

provided in Section 5.3 of the Settlement, and find that: (1) Notice was disseminated to the Class

pursuant to the Preliminary Approval Order, satisfying Fed. R. Civ. P. 23 and Due Process; (2) all

Class Members who did not submit a valid request to be excluded from the Settlement pursuant to

Section 9 of the Settlement Agreement shall be bound by the Court’s Judgment approving the


11
     The proposed “Order and Judgment” is attached hereto as Exhibit “1.”
12
  See Settlement Class Counsel’s Motion for an Award of Attorneys’ Fees and Cost Reimbursements for
Common Benefit Counsel and Individually Retained Attorneys Agreement (“Fee Petition”) [Rec. Doc.
22363], set for hearing on December 11, 2019.


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Settlement and certifying the Settlement Class; and (3) putative Class Members identified on the

List of Opt-Out Plaintiffs13 are deemed to have opted out of the Settlement and are referred to as

“Opt-Out Plaintiffs.” Settlement Class Counsel request that the Court lift the stay of prosecution

of claims against Taishan and the Additional Released Parties, entered August 29, 2019 [Rec. Doc.

22314].

           For the reasons set forth below, Settlement Class Counsel also ask that the Court deny and

overrule all Objections filed in opposition to the Settlement.

           Finally, Settlement Class Counsel request that the Court enter the accompanying Order

dismissing with prejudice all Claims against Taishan and the Additional Released Parties in the

Litigation and CDW-Related Actions in federal court, with the exception of those claimants who

have submitted valid opt-out requests, with each party to bear his, her or its own costs.14

II.        FACTUAL BACKGROUND

           A.      History of the Chinese Drywall Proceedings.

                   1.      The Origins of the Litigation.

           The Chinese Drywall Litigation arose out of thousands of individual and class action

lawsuits filed in state and federal courts throughout the country on behalf of Plaintiffs seeking

compensation for property damage and personal injuries allegedly caused by defective Chinese

Drywall. In the aftermath of the devastation caused by Hurricanes Katrina and Rita at the end of

the summer of 2005, and in conjunction with a housing boom in other parts of the country, there



13
     The List of “Opt-Out Plaintiffs” is attached hereto as Exhibit “2.”
14
  The proposed Order of Dismissal is attached hereto as Exhibit “3.” The Opt-Out Plaintiffs excluded from
the Order of Dismissal are set forth on Exhibit A thereto. In addition, the Parties agreed upon Final Approval
of the Settlement to file a joint motion with a proposed order to the Court seeking to purge any criminal
and/or civil contempt proceedings against Taishan and/or the Additional Released Parties arising out of or
relating to this Litigation. Settlement Agreement [Rec. Doc. 22305-2], at § 17.12.

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was a critical shortage of drywall in the United States, which led to the importation of millions of

square feet of drywall from China beginning in the fall of 2005 through 2008.

           This Chinese-manufactured drywall was installed in thousands of properties, primarily in

Florida and Louisiana, but also in Virginia, Alabama, Mississippi, Texas, Tennessee, Georgia,

North Carolina, Illinois, Oklahoma, South Carolina, and California; and in time, many residents

and owners began to notice unpleasant odors and corrosion to certain items made of metal.15 These

problems were linked to the presence of sulfur gases contaminating the interior of these properties;

and Plaintiffs filed claims for damages in various jurisdictions across the country alleging that

Chinese Drywall emits sulfur gases that cause extensive damage to properties and also, in some

cases, physical ailments.16 On June 15, 2009, the Judicial Panel for Multidistrict Litigation

(“JPML”) transferred all federal actions alleging damage from Chinese Drywall to the Eastern

District of Louisiana for coordinated discovery and consolidated pretrial proceedings in MDL

2047 pursuant to 28 U.S.C. § 1407.17

                   2.      The Omni Complaints.

           Since the formation of the MDL, thousands of claimants have been named on one or more

Omnibus Class Action Complaints filed by the Plaintiffs’ Steering Committee (“PSC”) against

more than 1,650 manufacturers, importers, suppliers, distributors, builders, installers, and insurers

involved in the supply chain of Chinese Drywall installed in Plaintiffs’ Affected Properties.18 In


15
  See In re Chinese-Manufactured Drywall Prods. Liab. Litig. (Germano), 706 F. Supp. 2d 655, 663 (E.D.
La. 2010) (Findings of Fact and Conclusions of Law).
16
     Id. at 659, 664-66, 710.
17
   Rec. Doc. 1; see also In re Chinese-Manufactured Drywall Prod. Liab. Litig., 626 F. Supp. 2d 1346
(J.P.M.L. 2009).
18
  See Payton v. Knauf Gips, KG, No. 09-7628 (E.D. La.) (Omni I, I(A), I(B), I(C)); Wiltz v. Beijing New
Building Materials Public Limited Co., No. 10-361 (E.D. La.) (Omni II, II(A), II(B), II(C)); Gross v. Knauf
Gips, KG, No. 09-6690 (E.D. La.) (original complaint, Omni III, III(A)); Rogers v. Knauf Gips, KG, No.


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2010, Taishan filed motions to dismiss for lack of personal jurisdiction under Louisiana, Florida,

and Virginia law. In order to protect the Plaintiffs’ Claims where jurisdiction over Taishan was in

question, the PSC filed identical Amorin Class Action Complaints in the MDL, the Southern

District of Florida, and the Eastern District of Virginia. Each of the Amorin actions included all

Plaintiffs named on any of the Omni actions against Taishan regardless of where the Plaintiff’s

property was located. These identical Amorin Complaints were transferred to the MDL by the

JPML.19

                3.      Initial Proceedings in the MDL.

        The PSC pursued primarily two groups of drywall-manufacturer Defendants: (1) the Knauf


10-362 (E.D. La.) (Omni IV, IV(A), IV(B), IV(C)); Amato v. Liberty Mutual Ins. Co., No. 10-932 (E.D.
La.) (Omni V); Hernandez v. AAA Ins., No. 10-3070 (E.D. La.) (Omni VI); Abel v. Taishan Gypsum Co.,
Ltd., No. 11-080 (E.D. La.) (Omni VII); Abreu v. Gebrueder Knauf Verwaltungsgesellschaft, KG, No. 11-
252 (E.D. La.) (Omni VIII); Haya v. Taishan Gypsum Co., Ltd., No. 11-1077 (E.D. La.) (Omni IX); Block
v. Gebrueder Knauf Verwaltungsgesellschaft, KG, No. 11-1363 (E.D. La.) (Omni X); Benoit v. Lafarge
S.A., No. 11-1893 (E.D. La.) (Omni XI); Arndt v. Gebrueder Knauf Verwaltungsgesellschaft, KG, No. 11-
2349 (E.D. La.) (Omni XII); Almeroth v. Taishan Gypsum Co., Ltd., No. 12-0498 (E.D. La.) (Omni XIII);
Cassidy v. Gebrueder Knauf Verwaltungsgesellschaft, KG, No. 11-3023 (E.D. La.) (Omni XIV); Amorin v.
Taishan Gypsum Co., Ltd., No. 11-1672 (E.D. La.) (Omni XV); Amorin v. Taishan Gypsum Co., Ltd., No.
11-1395 (E.D. La.) (Omni XVI); Amorin v. Taishan Gypsum Co., Ltd., No. 11-1673 (Omni XVII); Beane
v. Gebrueder Knauf Verwaltungsgesellschaft, KG, No. 13-609 (E.D. La.) (Omni XVIII); Amorin v. State-
Owned Assets Supervision and Administration Commission of the State Council, No. 14-1727 (E.D. La.)
(Omni XIX); Brooke v. State-Owned Assets Supervision and Administration Commission of the State
Council, No. 15-4127 (E.D. La.) (Omni XX); Macon v. Taishan Gypsum Co., Ltd., No. 17-1287 (N.D. Ala.)
(Omni XXI); Peoples v. Taishan Gypsum Co., Ltd., No. 17-2890 (N.D. Ga.) (Omni XXII); Polk v. Taishan
Gypsum Co., Ltd., No. 17-216H50 (S.D. Miss.) (Omni XXIII); Bright v. Taishan Gypsum Co., Ltd., No.
17-0035 (E.D.N.C.) (Omni XXIV); DeOliveira v. Taishan Gypsum Co., Ltd., No. 17-2019 (D.S.C.) (Omni
XXV); Redden v. Taishan Gypsum Co., Ltd., No. 17-1146 (W.D. Tenn.) (Omni XXVI); Mertlitz v. Taishan
Gypsum Co., Ltd., No. 17-140 (E.D. Tex.) (Omni XXVII); Bayne v. Taishan Gypsum Co., Ltd., No. 17-
1286 (N.D. Ala.) (Omni XXVIII); Abner v. Taishan Gypsum Co., Ltd., No. 11-3094 (N.D. Calif.) (Omni
XXIX); Bentz v. Taishan Gypsum Co., Ltd., No. 17-2892 (N.D. Ga.) (Omni XXX); Allen v. Taishan
Gypsum Co., Ltd., No. 17-217LG (S.D. Miss.) (Omni XXXI); Lochhead v. Taishan Gypsum Co., No. 17-
294 (S.D. Tex.) (Omni XXXII); Stutzman v. Taishan Gypsum Co., Ltd., et al., No. 17-1209 (S.D. Ill.) (Omni
XXXIII); Allman v. Taishan Gypsum Co., Ltd., et al., No. 17-00051 (E.D.N.C.) (Omni XXXIV); Cole v.
State-Owned Assets Supervision and Administration Commission of the State Council, et al., No. 18-00562
(N.D. Okla.) (Omni XXXV).
19
  See In re Chinese-Manufactured Drywall Prod. Liab. Litig., 2018 WL 6046189, at *2-3 (E.D. La. Nov.
19, 2018) (discussing background of identical Amorin complaints).


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entities,20 and (2) the Taishan entities.21 Knauf entered its appearance early in the Litigation, in

July 2009, agreeing to a limited waiver of service in November 2009. 22 In contrast, the Taishan

entities failed to appear in the Litigation and a default was entered against Taishan in 2009.23 In

February 2010, the Court presided over a trial of seven families’ claims in Germano v. Taishan

Gypsum Co., Ltd., f/k/a Shandong Taihe Dongxin Co. Ltd., et al., Case No. 09-6687 (E.D. La.),

after which the Court entered a monetary judgment in favor of Plaintiffs and against Taishan.24 In

March 2010, the Court presided over a trial of homeowners’ claims in Hernandez v. Knauf Gips

KG, Case No. 09-6050 (E.D. La.), after which the Court found in favor of Plaintiffs and against

Knauf.25

                      4.   Litigation Against Knauf.

           The Court’s findings in Germano and Hernandez provided a foundation for Knauf and the

PSC to enter into a comprehensive pilot remediation program for Knauf claimants on October 14,

2010 (“KPT Pilot Program”).26 The KPT Pilot Program proved a catalyst toward a negotiated

resolution with Knauf. As a result, on December 20, 2011, the Knauf entities and the PSC entered



20
  See In re Chinese-Manufactured Drywall Prod. Liab. Litig., 2017 WL 1421627, at *1 (E.D. La. Apr. 21,
2017). The Knauf entities (“Knauf”) are German-based, international manufacturers of building products,
including drywall, whose Chinese subsidiary, Knauf Plasterboard (Tianjin) Co., Ltd., manufactured and
sold its Chinese Drywall in the United States.
21
  See id. The Taishan entities are Chinese companies that include Taishan and its parents BNBM, BNBM
Group, CNBM, CNBM Group, and SASAC. On March 10, 2016, the Court dismissed CNBM Group on
the grounds of the Foreign Sovereign Immunity Act. In re Chinese-Manufactured Drywall Prod. Liab.
Litig., 168 F. Supp. 3d 918 (E.D. La. 2016).
22
     See Chinese Drywall, 2017 WL 1421627, at *1.
23
  See In re Chinese-Manufactured Drywall Prod. Liab. Litig., 2014 WL 4809520, at *2 (E.D. La. Sept. 26,
2014) (“Class FOFCOL”).
24
     See Chinese Drywall, 706 F. Supp. 2d 655.
25
     See Chinese Drywall, 2017 WL 1421627, at *1.
26
     See id. at *2.


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into a class settlement agreement providing comprehensive remediation and cash benefits to

homeowners with Knauf drywall, which the Court certified as a class action and approved on

February 7, 2013.27 In addition, the PSC reached class settlement agreements with hundreds of

downstream Defendant homebuilders, suppliers, and installers (and most of their insurers),

resulting in the resolution of “almost all of the Knauf Entities’ chain-of-commerce litigation.”28

Relatedly, the PSC negotiated, and the Court approved, four additional class settlements with

“several downstream entities in the Taishan chain of commerce and their insurers” for the benefit

of mostly Virginia claimants.29 Additionally, Plaintiffs reached a class settlement with Taishan of

Assigned Claims in MDL No. 2047 on Behalf of the Porter-Blaine/Venture Supply Class

Regarding Claims Assigned to the Class by the Porter-Blaine/Venture Participating Defendants

and Participating Insurers Against Taishan Gypsum Company Ltd. and Taian Taishan Plasterboard

Co., Ltd.30

                  5.      Litigation Against Taishan.

          After entry of the Germano judgment, Taishan entered its appearance in the MDL to

contest jurisdiction and vacate the default judgments. In the meantime, defaults also were entered

against CNBM, BNBM, and/or BNBM Group in various cases.31 Two years later, after significant

jurisdictional discovery, including depositions on several continents, a week of depositions

personally overseen by the Court in Hong Kong, and extensive briefing, the Court issued its



27
  See In re Chinese-Manufactured Drywall Prod. Liab. Litig., 2013 WL 499474 (E.D. La. Feb. 7, 2013);
see also Chinese Drywall, 2017 WL 1421627, at *2.
28
     Chinese Drywall, 2017 WL 1421627, at *2.
29
     See Order and Judgment dated 7/9/2013 [Rec. Doc. 16934], at 6.
30
     Rec. Doc. 21544.
31
     See Chinese Drywall, 2017 WL 1421627, at *8.


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jurisdictional opinion. The Court declined to vacate the default judgments against Taishan and

determined that Taishan was subject to the Court’s jurisdiction under Louisiana, Florida, and

Virginia law.32

          With the issue of jurisdiction resolved, Taishan discharged its counsel and announced that

it would not appear for a judgment debtor examination as ordered by the Court.33 The Court entered

a civil and criminal contempt order and injunction enjoining Taishan and its affiliates and/or

subsidiaries from conducting any business in the United States until or unless Taishan participated

in this judicial process.34 During Taishan’s absence from the jurisdiction, Plaintiffs filed a Motion

for Class Certification pursuant to Rule 23(b)(3).35 On September 26, 2014, the Court certified the

Amorin class of named homeowners with defective drywall manufactured by any of the Taishan

entities.36 The Court scheduled a hearing to determine class damages.37

          On the day that hearing was scheduled to begin on February 12, 2015, BNBM entered an

appearance and requested a continuance of the class damages hearing.38 Shortly thereafter, Taishan

returned to the Litigation and paid the Germano judgment, plus fines,39 and BNBM Group,

CNBM, and additional CNBM entities appeared in the Litigation.40 BNBM, BNBM Group, and


32
  Chinese Drywall, 894 F. Supp. 2d 819 (E.D. La. 2012), aff’d, 742 F.3d 576 & 753 F.3d 521 (5th Cir.
2014).
33
     Chinese Drywall, 168 F. Supp. 3d at 932.
34
     Contempt Order dated 7/17/2014 [Rec. Doc. 17869].
35
     Chinese Drywall, 2017 WL 1421627, at *4.
36
     Class FOFCOL, 2014 WL 4809520, at *16.
37
     Chinese Drywall, 2017 WL 1421627, at *5.
38
     Rec. Doc. 18331; see also Chinese Drywall, 2017 WL 1421627, at *5.
39
  See Notice of Appearance [Rec. Docs. 18352]; Notice of Payment of Contempt Penalty [Rec. Doc.
18448].
40
   Rec. Docs. 18397, 18411, 18427, 18428, 18431, 18444; see also Chinese Drywall, 2017 WL 1421627,
at *5.


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the CNBM entities filed jurisdictional challenges.41 In addition, Defendants sought to decertify the

Amorin class.42

           On June 9, 2015, the Court oversaw the class damages hearing. Following extensive

pretrial briefing, which included Daubert motions, the Parties presented remediation damages

evidence at the class damages hearing, and after that hearing prepared extensive proposed findings

of fact and conclusions of law.43 On April 21, 2017, the Court entered an order on class damages

adopting a formula for calculating remediation damages (the “Remediation Damages Formula”)

based on universally accepted RS Means data, analogous to that used by national builders.44 The

Court concluded that Plaintiffs’ remediation damages should be “calculated by multiplying the

under air square footage of the affected properties . . . by [the national unit square foot price for

remediation] as adjusted by the RS Means location factor.”45 Also, on April 21, 2017, the Court

denied Defendants’ motion to decertify the Amorin class.46

           In 2018, the Court rejected BNBM’s and CNBM’s efforts to vacate the defaults that had

been entered against them.47 Absent settlement, BNBM and CNBM will attack on appeal the

validity, extent, and transferability of default.



41
  See BNBM and CNBM entities’ Motions to Dismiss [Rec. Docs. 19527, 19646, 19663, 19664]; see also
BNBM Group’s Motion to Dismiss the Complaints Pursuant to Rule 12(b)(2) and 12(b)(5) [Rec. Doc.
18841].
42
  See CNBM’s Motion to Decertify the Class [Rec. Doc. 20627]; Taishan’s joinder in CNBM’s Motion to
Decertify the Class [Rec. Doc. 20632]; Defendants’ Motion to Certify an Immediate Appeal from the
Court’s Order Denying their Motions to Decertify the Class (§1292(b) Motion #2) [Rec. Doc. 20780];
Taishan’s Motion to Amend the Order Denying Class Decertification and the Class Damages Order and to
Certify for Interlocutory Appeal Under Section 1292(b) [Rec. Doc. 20778].
43
     Rec. Doc. 19194 (Taishan) Rec. Doc. 19197 (Plaintiffs); Rec. Doc. 19198 (BNBM).
44
     Chinese Drywall, 2017 WL 1421627, at *14.
45
     Id. at *24.
46
     See Rec. Doc. 20741.
47
     In re Chinese-Manufactured Drywall Prod. Liab. Litig., 2018 WL 279629, at *8 (E.D. La. Jan. 2, 2018).

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          With respect to the ongoing efforts of CNBM and BNBM to contest jurisdiction over them,

the Court entered an Order and Reasons on April 21, 2017, holding that the Claims against certain

Defendants, including CNBMIT Co. Ltd., CNBM USA Corp., and United Suntech Craft, must be

dismissed for lack of jurisdiction and that, for jurisdictional purposes (i) CNBM, BNBM Group,

BNBM, and Taishan operate as a single business enterprise under Louisiana law, (ii) Taishan and

BNBM are agents under Virginia and Florida law, (iii) there is jurisdiction over BNBM under

Florida law for its manufacture and sales of BNBM Dragon Board in Florida, and (iv) the Court

does not have jurisdiction over BNBM Group or the CNBM entities under Florida law or Virginia

law.48 Following these rulings, BNBM, BNBM Group and CNBM filed motions pursuant to 28

U.S.C. § 1292(b), seeking immediate appellate review.49 On August 4, 2017, the Court certified

its Jurisdiction Order for immediate appeal but, thereafter, Taishan, BNBM, BNBM Group, and

CNBM filed supplemental motions to dismiss based on Bristol-Myers Squibb v. Superior Court of

California, 137 S. Ct. 1773 (2017) (“BMS”).50 In order to protect the Plaintiffs facing potential

dismissal challenges, the PSC filed protective Amorin and Brooke actions in each of the States

where Affected Properties were located.51 Extensive briefing occurred on the issue of the Court’s




48
  See In re Chinese-Manufactured Drywall Prod. Liab. Litig., 2017 WL 1476595 (E.D. La. Apr. 21, 2017)
(“Jurisdiction Order”), mot. to certify appeal granted, 2018 WL 4863625 (E.D. La. Mar. 6, 2018).
49
  Rec. Doc. 20779; Defendants’ Petition for Permission to Appeal Pursuant to 28 U.S.C. § 1292(b), Fifth
Circuit Docket 17-90027, filed by CNBM, BNBM Group, and BNBM [Rec. Doc. 20898-2] (permission
denied by the Fifth Circuit on September 1, 2017).
50
  See Order & Reasons (8/4/2017) [Rec. Doc. 20890], vacated while BMS briefing occurred [Rec. Doc.
20927]; see also Rec. Doc. 20882. Defendants’ 1292(b) motions on class damages and decertification were
denied by Order & Reasons (8/22/2017) [Rec. Doc. 20910].
51
     See note 18, supra (citing Omni XVI-Omni XXXV).


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jurisdiction over Defendants and, on November 30, 2017, the Court issued an opinion on personal

jurisdiction that rejected the challenges under BMS.52

           Thereafter, the BNBM and CNBM entities revisited their request for interlocutory

review.53 That request was granted in part by the Court, certifying the issues arising from the

original Jurisdiction Order but denying certification with respect to issues raised by BMS.54

BNBM, BNBM Group, and CNBM petitioned the Fifth Circuit for permission to appeal the

Jurisdiction Order, which prompted additional briefing.55 That petition was granted; the

jurisdictional appeal is fully briefed and oral argument has been scheduled for the week of

February 3, 2020.56

                   6.      The Brooke Actions.

           After the Amorin Class was certified in September 2014, additional complaints were filed

with new Plaintiffs, who were not part of the certified Amorin Class, asserting similar claims

against Taishan and the BNBM and CNBM entities and including, among the Defendants,

SASAC.57 Much like the protective Amorin Complaints, identical Brooke Complaints containing

all of the same Plaintiffs were filed in Louisiana, Florida, and Virginia, which were then transferred

to the MDL Court in Louisiana. Taishan, BNBM, BNBM Group, and CNBM entered their

appearances in Brooke. However, there have been no defaults entered in the Brooke cases, there


52
     Rec. Doc. 20188.
53
     Rec. Doc. 21095; Rec. Doc. 21096.
54
     Rec. Doc. 21231.
55
  See Defendants’ Petition, In re Chinese-Manufactured Drywall Prod. Liab. Litig., No. 18-90013 (5th Cir.
Mar. 15, 2018), Doc. No. 00514397054; Plaintiffs’ Response, In re Chinese-Manufactured Drywall Prod.
Liab. Litig., No. 18-90013 (5th Cir. Mar. 15, 2018), Doc. No. 0051440659.
56
 In re Chinese-Manufactured Drywall Prod. Liab. Litig., No. 18-30742 (5th Cir. Nov. 22, 2019), Doc.
No. 00515211235.
57
     See notes 4, 18, supra.


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have not been any responsive pleadings filed, and a class has not been certified. Further, BNBM

moved to dismiss the Brooke Complaints, and this Court granted that motion, in part, by dismissing

certain causes of action and ruling on BNBM’s statute of limitations defense, that many claimants

cannot rely on cross-jurisdictional tolling to save their Claims.58 Otherwise, all of the issues in the

Brooke actions are yet to be litigated, including individual determinations regarding application of

the respective statutes of limitations, and the applicability of any rulings from the Amorin actions

to the Brooke actions has not been determined.

                  7.      Remands of Amorin and Brooke Actions.

          In 2018, this Court suggested that the Florida and Virginia Amorin actions be remanded.59

On March 11, 2019, the Court suggested that the Florida and Virginia Brooke actions be

remanded.60 As a result, the Florida Amorin action was remanded to Judge Cooke in the Southern

District of Florida (Civil Action No. 11-22408), the Virginia Amorin action was remanded to Judge

Davis in the Eastern District of Virginia (Norfolk Civil Action No. 11-377), the Florida Brooke

action was remanded to Judge Williams in the Southern District of Florida (Civil Action No. 15-

24348), and the Virginia Brooke action was remanded to Judge Smith in the Eastern District of

Virginia (Norfolk Civil Action No. 15-506). The Louisiana Amorin and Brooke actions remain in

the MDL, and even though the Florida and Virginia Amorin and Brooke actions were remanded,

all of these Plaintiffs’ Claims also remain in the Louisiana Amorin and Brooke actions because the




58
     See In re Chinese-Manufactured Drywall Prod. Liab. Litig., 2019 WL 1057003 (E.D. La. Mar. 6, 2019).
59
  See Rec. Doc. 21242 (Florida); Rec. Doc. 21695 (Virginia). The Amorin cases were remanded by Order
of the JPML to Florida on June 6, 2018, and to Virginia on October 10, 2018. See JPML Rec. Doc. 524
(Florida); JPML Rec. Doc. 547 (Virginia).
60
     See Rec. Doc. 22198; JPML Rec. Doc. 556.


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Complaints are identical.61 Since the Settlement was reached, all actions in the Litigation and

CDW-Related Actions have been stayed during the Settlement approval process.62

        Upon remand of the Florida Amorin cases, on November 16, 2018, Judge Cooke entered

an ambitious two-track scheduling order designed to move the cases to resolution – one track for

remediation damages and one track for other losses.63 For the next six months, the Parties worked

diligently and many times around the clock to execute the remand court’s trial plan. On behalf of

approximately 1,700 Florida Amorin Plaintiffs, Settlement Class Counsel responded to

Defendants’ discovery requests and contests regarding remediation damages, generally, and proof

of Product ID, ownership status of Affected Properties, under air square footage, remediation

status, prior payments for Chinese Drywall Claims, and assignments of claims to third parties,

specifically. In addition, Settlement Class Counsel and other common benefit counsel, including

PSC members and attorneys working under their direction, took the deposition of Taishan’s

30(b)(6) witness and served written discovery on BNBM64 regarding Product ID and the categories

of Chinese Drywall alleged to be attributed to Defendants. Following the Product ID and

remediation damages discovery, the Parties presented multiple briefs with evidentiary support and

several days of oral argument to Special Master Tiffani Lee, appointed by Judge Cooke in Florida.



61
  See Chinese Drywall, 2018 WL 6046189, at *5-6 (staying, instead of dismissing, Florida and Virginia-
based claims in the Louisiana Amorin Complaint).
62
 See MDL Rec. Docs. 22261, 22271, 22282, 22294, 22314; FLSD ECF Nos. 306, 313, 317, 319; VAED
ECF Nos. 92, 95, 97, 99, 101.
63
 See Florida Trial Plan, Amorin v. Taishan, Civil Action No. 11-cv-22409 (Nov. 16, 2018) (FLSD ECF
No. 112) [Rec. Doc. 21933-1].
64
   Settlement Class Counsel attempted to depose BNBM on Product ID issues. Though BNBM’s 30(b)(6)
witness had been granted approval to enter the United States, he had yet to formally receive his visa. Given
the time constraints of Judge Cooke’s trial plan order, the Parties agreed to written discovery of BNBM in
lieu of live testimony. See Declaration of Class Counsel Sandra L. Duggan in Support of the Settlement
(“Class Counsel Declaration”) (attached hereto as Exhibit “4”), at ¶ 12.


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Plaintiffs were successful on some, but not all, issues related to Product ID 65 and remediation

damages.66 At the time the Settlement was reached a number of case-dispositive issues remained

unresolved.

        In Florida, the Parties also engaged in discovery regarding Other Losses of 20 Priority

Plaintiffs set for trial in July 2019. During a two-month period, the Priority Plaintiffs produced


65
  At the time the Settlement was reached, the Special Master had entered her Report and Recommendation
Regarding Product ID Categories Attributable to Taishan Defendants (“Product ID R&R”), rejecting
Plaintiffs’ arguments for attribution to Taishan for: “MADE IN CHINA MEETS OR EXCEEDS,” nearly
all of the Drywall with dimensions markings with the exception of one marking that Taishan admitted to
and the other where Plaintiffs had direct evidence that it was a Taishan marking, Prowall, IMT Gypsum,
C&K, and White Edge Tape and “blank boards.” See Special Master’s Product ID R&R (FLSD ECF No.
233) (attached hereto as Exhibit “5”). Plaintiffs’ Objections to the Product ID R&R were pending before
Judge Cooke at the time the Settlement was reached, and remain unresolved. See Plaintiffs’ Objections to
and Appeal from Product ID R&R (FLSD ECF No. 253) (attached hereto as Exhibit “6”); Taishan’s
Opposition to Plaintiffs’ Objections to and Appeal from Product ID R&R (FLSD ECF No. 277) (attached
hereto as Exhibit “7”); Plaintiffs’ Reply in Further Support of Their Objections to and Appeal from Product
ID R&R (FLSD ECF No. 297) (attached hereto as Exhibit “8”).
66
  See Special Master’s Report and Recommendation Regarding Defendants’ Contests and Set-Offs (FLSD
ECF No. 266) (attached hereto as Exhibit “9”); Special Master’s Second Report and Recommendation
Regarding Defendants’ Contests and Set-Offs (FLSD ECF No. 268) (attached hereto as Exhibit “10”). The
Special Master sustained the following Contests asserted by Defendants: (g) only SPPFs and amended
SPPFs with signed verifications are admissible; (n) Plaintiffs whose Affected Property was remediated by
another person or entity at no cost to the Plaintiffs have no remediation damages to recover; and (o)
Plaintiffs whose diminution in value is less than the amount requested under the remediation damages
formula are entitled to only the diminution in value and not remediation formula damages in accordance
with Florida law. At the same time, the Special Master denied the following Contests asserted by
Defendants: (a) certain Plaintiffs are not Amorin Class Members; (c) Plaintiffs who were aware of the
Chinese Drywall prior to purchasing the Affected Property are not entitled to remediation or any other kind
of damages; (e) condominium associations do not have standing as Class Members; (h) Plaintiffs who did
not fill out all relevant fields in the SPPF should be off-tracked; (i) Plaintiffs who have more than one proof
of under-air square footage should be off-tracked; (k) Plaintiffs who lack sufficient Product ID should be
excluded from the remediation damages formula process; (l) and (m) Plaintiffs whose Affected Properties
were partially or completely remediated should be off-tracked; (p) Plaintiffs eligible for the Remediation
Damages Formula are only entitled to the 2015 RS Means national price per square foot; and (q) Plaintiffs
who did not preserve evidence in compliance with Pre-Trial Order 1 should be off-tracked and resolved
through individual adjudication. Further, the Special Master overruled the following Contests as they sought
input on matters pending before Judge Cooke or Judge Fallon: (d) former owners are not entitled to the
Remediation Damages Formula; (f) certain Plaintiffs did not submit an SPPF; and (j) Plaintiffs without
proof of Product ID attributable to Taishan cannot recover against Taishan. The Settlement was reached
before the deadline to file Objections to the Special Master’s Reports and Recommendations on
Defendants’ Contests and before Judge Cooke had an opportunity to rule on related matters pending before
her. Therefore, a number of issues pertaining to Plaintiffs’ remediation damages remain unresolved.


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relevant documents requested by Defendants on the subjects of alternative living expenses, short

sales, foreclosures, bankruptcies, bodily injury claims, loss of use and enjoyment, punitive

damages, lost equity, personal property damages and other losses. In addition, the Priority

Plaintiffs prepared lists of fact witnesses and submitted themselves (and other owners of the

Affected Properties) for deposition and home inspections if requested. Following fact discovery,

Settlement Class Counsel and other common benefit counsel working under their direction

engaged in expert discovery and motions practice in preparation of the trials scheduled for Other

Loss claims. Tens of thousands of pages of expert reliance material were exchanged, including

copious scientific testing data and complex housing market valuations. Depositions of both

Plaintiff and Defendant experts were vigorously pursued, generating thousands of pages of expert

transcripts. These depositions formed the basis of motion practice, which was fully briefed and

pending at the time the proposed Settlement was reached. Further, Defendants filed an omnibus

motion for summary judgment, which posited multiple theories as to why the Priority Plaintiffs

should not be entitled to recover (or, to the extent they can recover, why their damages should be

minimized). Plaintiffs responded to this motion, which was pending at the time the Settlement was

reached.

       Similar trial plans were set by the MDL Court with respect to the Louisiana Amorin claims,

and by Judge Davis with respect to the Virginia Amorin claims.67 In Louisiana, the Parties engaged

in fact discovery involving 39 Select Claimants. These Plaintiffs (along with other owners of the

subject Affected Properties) submitted themselves for depositions and home inspections, prepared

lists of fact witnesses, and were preparing to engage in expert discovery at the time the Settlement


67
  See Order & Reasons re Trial Plan [Rec. Doc. 22251] (Louisiana Trial Plan); Memorandum Order re
Trial Plan, Civil Action No. 11-cv-377 (VAED ECF No. 87) [Rec. Doc. 22253-1].


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was reached. In advance of trial, this Court ruled that the former owners’ diminished property

values are presumptively the same as the cost required to remediate the homes.68

           Proceedings with respect to the remanded Brooke cases were still in their infancy at the

time the Settlement was reached. However, in addressing Defendants’ motions to dismiss Brooke

actions on statute of limitations grounds, the MDL Court recognized that class action tolling did

not broadly apply, and thus, the viability of many Brooke claims would have to be addressed on a

case-by-case basis if the Settlement is not approved.69

           B.       History of the Settlement Negotiations and Mediation.

           These Chinese Drywall proceedings have been pending for over ten years. Settlement Class

Counsel are very familiar with the strengths and weaknesses of the Plaintiffs’ claims, the risks of

continued litigation against foreign Defendants, and the costs and delays associated with pursuing

judgments in multiple jurisdictions and the inevitable appeals even if successful.70 The Parties

engaged in arm’s-length negotiations over several weeks to reach this Settlement. 71 Under the

guidance of mediator John S. Freud,72 Settlement Class Counsel made a global demand of Taishan,

and the Parties exchanged detailed damages calculations and arguments in support of their

respective positions, and made counter-offers and responded to the other side’s positions.73 In

addition to Settlement Class Counsel, PSC member Pete Albanis of Morgan & Morgan, Plaintiffs’


68
     Rec. Doc. 22237, at 12.
69
     See In re Chinese-Manufactured Drywall Prod. Liab. Litig., 2019 WL 1057003 (E.D. La. Mar. 6, 2019).
70
     See Class Counsel Declaration, at ¶ 6.
71
     See id. at ¶ 21.
72
   Judge Cooke ordered the Parties to engage in mediation (FLSD ECF No. 113) at ¶ 3, and Plaintiffs timely
filed a Notice of Mediation on the Florida docket. See Notice of Mediation (FLSD ECF No. 235); Joint
Report No. 110 of Plaintiffs’ and Defendants’ Liaison Counsel [Rec. Doc. 22224], at 35 (citing Notice of
Mediation). The Parties jointly selected Mr. John Freud as the Mediator (FLSD ECF No. 237). See Class
Counsel Declaration, at ¶ 21; see also C.V. of John S. Freud [Rec. Doc. 22305-8].
73
     See Class Counsel Declaration, at ¶ 21.

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Counsel Emma Schwab of Barrios, Kingsdorf & Casteix, Allison Grant, and Holly Werkema of

Baron & Budd participated in and contributed to the negotiations of the Settlement. Following

intense, hard-fought in-person negotiations that proceeded over two days, where each side

acquiesced to compromises, on May 23, 2019, the Parties agreed to a Settlement Term Sheet on

behalf of the Settlement Class that set forth (i) the class definition, (ii) the cash payment amount,

(iii) the terms of funding, (iv) the Parties’ agreement to jointly recommend to the Court that an

Allocation Neutral be appointed to determine, subject to Court approval, the allocation criteria for

awards from the Settlement Fund among eligible Class Members based on objective factors

including, but not limited to: Product ID; square footage; ownership status; remediation status; and

whether the claimant is an Amorin Class Member or a Brooke Plaintiff, and (v) the non-cash

settlement terms.74 Thereafter, over the next three months, the Parties met in person on multiple

occasions and over the phone to negotiate the terms of the final Settlement Agreement. 75 At all

times, these negotiations proceeded at arm’s length.76 The Parties did not enter into any side-

agreements, and the Settlement contains all terms agreed to by the Parties.77

           C.       Material Terms of the Settlement.

                    1.     Settlement Class.

           The proposed Settlement Class includes all Amorin Plaintiffs, all Brooke Plaintiffs, and

absent Class Members, except that the following Plaintiffs are expressly excluded from the Class:

(1) 498 Florida Amorin Plaintiffs who were offered separate settlements from Taishan (as set forth



74
     See Class Counsel Declaration, at ¶ 23.
75
     See id.
76
     See id. at ¶ 24.
77
     See id.


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on Exhibit 1 to the Settlement Agreement); (2) The Mitchell Company and other commercial

builders included in The Mitchell Co., Inc. v. Knauf Gips KG, et al., Civil Action No. 09-4115

(E.D. La.) (remanded to the Northern District of Florida); and (3) Plaintiffs whose Claims were

dismissed for failure to complete an SPPF or by motion for voluntary dismissal.78

                    2.     Amount of Settlement.

           Taishan agreed to pay $248,000,000 in cash to settle the Claims of Settlement Class

Members. Taishan has made an initial payment of $24,800,000, which is in the Court Registry.79

Under the Settlement Agreement, Taishan is obligated to make a second payment of $74,400,000

no later than 120 days following Preliminary Approval, i.e., by December 27, 2019,80 and a final

payment of $148,800,000 no later than 60 days after Final Approval of the Settlement.81

                    3.     Purpose of the Settlement.

           The purpose of the Settlement is to fairly and adequately resolve all Claims against Taishan

and the Additional Released Parties for damages allegedly caused by Covered Chinese Drywall

installed in Affected Properties owned by Plaintiff Class Members.82 “Covered Chinese Drywall”

is defined as “All drywall products alleged to be attributable to Taishan and/or the Additional

Released Parties, including, but not limited to those products identified in the Taishan Product ID




78
     See Settlement Agreement [Rec. Doc. 22305-2], at § 1.1.1.
79
  See [Rec. Doc. 22330]. Subject to Court approval, a portion of the initial payment may be used to pay
the costs of individual mailed Class Notice and other administrative expenses associated with the retention
of the Allocation Neutral and the Claims Administrator. Settlement Agreement [Rec. Doc. 22305-2], at §§
4.1.1, 8.2.1.
80
     See Settlement Agreement [Rec. Doc. 22305-2], at § 4.1.2.
81
     See id. at § 4.1.3.
82
     See id. at § 3.1.


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Catalog.”83 The types or “brands” of Chinese Drywall included in the Settlement (“Covered

Chinese Drywall”) are the following:

                    (A) BNBM and Dragon Brand; (B) C&K; (C) Chinese Manufacturer
                    #2 (purple stamp); (D) Crescent City Gypsum; (E) DUN; (F) IMT
                    Gypsum; (G) ProWall; (H) TAIAN TAISHAN and Taihe edge tape;
                    (I) MADE IN CHINA MEET[S] OR EXCEED[S]; (J) various
                    Drywall dimensions, including 4feet[x/*]12feet[x/*]1/2inch; (K)
                    Venture Supply; and (L) White Edge Tape, boards with no markings
                    or boards with no markings other than numbers or letters.84

The following drywall products are excluded from the Settlement (i.e., they are not Covered

Chinese Drywall): Knauf, Knauf Tianjin, KPT, Bedrock, ProRoc, Panel Rey, IMG, USG,

Shamrock Gold, Lafarge, Georgia Pacific, National Gypsum, and any drywall manufactured

outside of the People’s Republic of China.85

                    4.     Releases and Bar Provision.

           The released parties are Taishan, BNBM, BNBM Group, CNBM, CNBM Group, and

SASAC.86 As of the Effective Date of the Settlement,87 each Settlement Class Member (known

and unknown) will be deemed to have fully released any and all Released Claims against Taishan

and the Additional Released Parties.88 Further, Class Members who have not opted out will be

barred from bringing or continuing suit on any Released Claims against Taishan or the Additional



83
     See id. at § 1.12.
84
     Id. at § 1.12 & Exhibit 2 to the Settlement Agreement; see also Rec. Doc. 22152-3.
85
     See Settlement Agreement [Rec. Doc. 22305-2], at § 1.1.2 & Exhibit 2 to the Settlement Agreement.
86
     See id. at § 1.1.2.
87
  The Effective Date of the Settlement is when the Settlement is Final, which is the date after the time to
appeal the Order and Judgment has expired with no appeal having been taken; or if an appeal is sought, the
day after the Order and Judgment is either affirmed, or any and all appeals, or motions for reargument or
reconsideration are dismissed or denied, and the judgment is no longer subject to further appellate review.
See Settlement Agreement [Rec. Doc. 22305-2], at § 2.1.
88
     See id. at § 5.2.1.


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Released Parties.89 Similarly, as of the Effective Date, Taishan will be deemed to have fully

released any and all Released Claims against all Class Members who have not opted out of the

Settlement.90

           The term “Released Claims” is defined broadly to encompass “any and all Claims,

including Other Losses, of a Class Member against Taishan or the Additional Released Parties

pertaining to Chinese Drywall.”91

           The “Claims” subject to release in the Settlement generally are defined to include:

                    any and all claims of any kind and nature whatsoever of a Class
                    Member (a) arising out of, or in any manner related to, Covered
                    Chinese Drywall, the Litigation, or CDW-Related Actions, and/or
                    (b) for any and all losses, damages and/or injuries arising from, or
                    in any manner related to, all and/or any of the claims described in
                    (a) above, including but not limited to, any and all claims that a Class
                    Member or anyone claiming by or through any Class Member has,
                    may have, or may have had, regardless of whether such claim is
                    known or unknown, filed or unfiled, asserted or as yet unasserted,
                    or existing or contingent, whether asserted by petition, complaint,
                    cross-claim, third party complaint, fourth-party complaint, arbitral
                    demand, written demand, or otherwise (or any judgment or order
                    entered on such claims), based upon or alleging any act, conduct,
                    status or obligation of any person or entity (including Taishan and/or
                    any Released Party) and/or any source of liability whatsoever, and
                    regardless of the legal theory or theories of damages involved.92

           The term “Claim” subject to release more specifically includes, but is not limited to, any

claim:

                    For damage to real or immovable property and/or personal or
                    movable property, remediation and/or clean-up of property,
                    diminution of property value, stigma, contamination, alternative
                    living expenses, loss of use, loss of enjoyment, economic loss,
                    personal injury, bodily injury (including death), fear, fear of illness

89
     See id. at § 5.2.2.
90
     See id. at § 5.3.1.
91
     See id. at § 5.1.
92
     See id. at § 1.7.

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                    or disease, fear of developing illness or disease, fright, mental or
                    emotional distress, pain and suffering, loss of earnings, impairment
                    of earning capacity, loss of consortium, loss of support, loss of love
                    and affection, equity and medical monitoring, bystander liability,
                    wrongful death, survival actions, breach of contract, all statutory
                    claims, punitive or exemplary damages, attorneys’ fees, attorneys’
                    costs or expenses, moving expenses, or additional rental or
                    mortgage payments93;

                    For nuisance, trespass, inconvenience, loss of use or enjoyment,
                    negligence, negligence per se, tort, public or private nuisance,
                    custody of a thing containing a vice or defect, strict liability, liability
                    for ultrahazardous activities or conduct, absolute liability, wanton
                    and reckless misconduct, malicious misconduct, servitude or
                    obligation of vicinage, abuse of right, or any other liability legally
                    asserted or assertable under any federal, state, or local statute,
                    directive or regulation, redhibition, violation of any state or federal
                    home warranty act, products liability act, unfair trade practices or
                    consumer protection law, negligent discharge of a pollutant or
                    corrosive substance, unjust enrichment, breach of express or implied
                    warranty, breach of implied warranty of fitness and merchantability,
                    breach of implied warranty of habitability, negligent
                    misrepresentation, building code violations94;

                    For punitive damages, whether statutory or common law95;

                    For derivative or vicarious liability arising out of the conduct or fault
                    of others for which Taishan and/or any Released Party may be
                    responsible96;

                    For any right legally assertable by the Class or any Class Member
                    now or in the future, whether the claim is personal to each
                    individual, is derivative of a claim now or in the future, or as
                    assignee, successor, survivor, beneficiary, subrogee, or
                    representative of a Class Member97;

                    For a past, present, future, known, unknown, foreseen, unforeseen,
                    contingent, nascent, mature claim or a claim arising at law, in equity

93
     See id. at § 1.7.1.
94
     See id. at § 1.7.2.
95
     See id. at § 1.7.3.
96
     See id. at § 1.7.4.
97
     See id. at § 1.7.5.


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                      or otherwise, including but not limited to, claims for survival and
                      wrongful death98; and

                      For all injuries or damages of any type, nature, or character arising
                      from, attributable to, or in any way resulting from Covered Chinese
                      Drywall.99

                      5.     Allocation of the Settlement Fund Among Eligible Class Members.

           The Court appointed Mr. J. Cal Mayo, Jr. to serve as the Allocation Neutral responsible for

developing a fair, reasonable, and adequate Allocation Model to allocate and distribute the

Settlement Funds equitably among Eligible Class Members based on Objective Criteria.100 Under

the terms of the Settlement Agreement, there will be only one Allocation Amount per Affected

Property, which is intended to provide compensation for remediation damages as well as Other

Losses.101 There will be no payment of Settlement Funds to Class Members for Claims for personal

injury or bodily injury, although those Claims will be released.102 Depending on the circumstances,

an Allocation Amount may need to be divided among multiple Eligible Class Members asserting

Claims with respect to the same Affected Property, and the court-appointed Claims Administrator

BrownGreer shall have sole discretion to determine that division, unless the Allocation Model

directs a specific division and distribution of the Allocation Amount applicable to the

circumstances.103 In order to be considered eligible for an Allocation Amount, Class Members




98
     See id. at § 1.7.6.
99
     See id. at § 1.7.7.
100
   See id. at § 1.5; see also C.V. of J. Cal Mayo, Jr. [Rec. Doc. 22305-7]. Previously, Mr. Mayo served as
a Special Master appointed by the Court to resolve Product ID disputes among the Parties [Rec. Docs.
20306 (*SEALED) and 22252].
101
      See Settlement Agreement [Rec. Doc. 22305-2], at § 6.2.
102
      Id. at § 6.3.
103
      Id. at § 6.2.


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must provide sufficient proof of indicia of Covered Chinese Drywall in the subject Affected

Property.104

           On August 19, 2019, Mr. Mayo filed his Allocation Model and Allocation Neutral Report

on the MDL docket.105 In the process of developing the Allocation Model, Mr. Mayo conferred

jointly and separately with Settlement Class Counsel and counsel for Taishan and the Additional

Released Parties, and he also reviewed various court orders and related legal authorities, other

relevant documents filed of record in this Litigation, and other written and oral information

provided by counsel.106 After careful consideration, Mr. Mayo determined that the following

factors will be used to calculate the Allocation Amounts for each Affected Property: (i) Under Air

Square Footage of the Affected Property107; (ii) whether the Settlement Class Member is an

Amorin Plaintiff, a Brooke Plaintiff, or an absent Class Member; (iii) proof of Product ID (i.e.,

which category of Covered Chinese Drywall was installed in the Affected Property); and (iv)

whether any prior payments were received by the Class Member for Chinese Drywall claims

related to the Affected Property.108

           Mr. Mayo concluded that the Ownership Status of Class Members (i.e., whether they are

current or former owners of an Affected Property) would not be a factor in calculating Allocation


104
      Id. at § 1.13.
105
    See Allocation Model and Allocation Neutral Report (“Allocation Model”) [Rec. Doc. 22304-1]. On
August 28, 2019, the Allocation Neutral filed a Supplement to his Allocation Model to address a unique
situation involving an action pending in Alabama state court. See Supplement to Allocation Model and
Allocation Neutral Report [Rec. Doc. 22310-1]. See also Declaration of J. Cal Mayo, Jr. dated 12/2/2019
(attached hereto as Exhibit “11”).
106
      Allocation Model [Rec. Doc. 22304], at 2 & Exhibit 1 [Rec. Doc. 22304-1].
107
   Under Air Square Footage is “the area within the Affected Property that receives ventilation from the
property’s heating and air systems, not including garages, attics, or basements that are not part of this
ventilation system.” Settlement Agreement [Rec. Doc. 22305-2], at § 1.32.
108
      Allocation Model [Rec. Doc. 22304-1], at 2-4.


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Amounts.109 In making this decision, the Allocation Neutral was “guided by the decisions of the

courts in Louisiana, Virginia, and Florida, [and he] generally assumed the remediation cost and

the diminution in value equate, such that any former owner received less consideration for the

house at the time of ownership separation.”110 Mr. Mayo recognized that “[o]bviously, various

factors could distinguish particular circumstances (i.e., an arm’s length sale versus a foreclosure

with debt forgiveness). However, due to the expense of a claim-by-claim analysis, [Mr. Mayo

decided to] treat former owners and current owners the same for purposes of the allocation

model.”111

            Mr. Mayo further determined that the Remediation Status of the Affected Property (i.e.,

whether it was remediated in whole, in part, or not at all) is not a factor for consideration in the

Allocation Model.112 He explained that “[t]he need to conduct a claim-by-claim analysis for partial

remediations and the resulting time and cost played a major role in [his] decision.”113 Likewise,

“for efficiency and consistency purposes,” the specific location of the Affected Property would

not affect the value of the Allocation Amount, despite the fact that during the Litigation, “[t]he RS

Means Location Factor provide[d] an adjustment to the national average construction cost based

on zip code.”114




109
      Id. at 4.
110
      Id.
111
      Id.
112
      Id.
113
      Id.
114
      Id.


                                                  25
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            With regard to Other Losses, Mr. Mayo explained that “[i]mplicit in the allocation value

for each Unit [i.e., each Affected Property], is a sum paid to resolve claims for Other Losses.”115

However, [d]etermining the particular Other Losses for a Unit and its individual owners would

require detailed and cost-prohibitive inquiry and examination. The allocation model is designed

for overall fair treatment of the Class Members.”116

            The Allocation Model developed by the Allocation Neutral uses a methodology that

assigns relative values to the objective factors determined to be relevant in calculating Allocation

Amounts. For example, Brooke Plaintiffs are ascribed a 20% value in comparison to Amorin

Plaintiffs (i.e., the Brooke claims are discounted by 80%). As explained by Mr. Mayo,

                    For the Amorin plaintiffs, the MDL Court has entered a default
                    judgment as to liability and has certified a class, which the courts in
                    Florida and Virginia have acknowledged and adopted. The only step
                    remaining to judicially resolve the Amorin claims is a per claim
                    damages determination. In fact, the federal courts in Florida,
                    Virginia, and Louisiana were proceeding with resolution of these
                    claims at the time of settlement. The Amorin plaintiffs have the
                    strongest claims.117

            In contrast,

                    The Brooke litigation remains in the early stages. The Defendants
                    have not answered, no discovery has occurred, and no court has
                    certified a class. Significant work must occur (taking much time and
                    expense) to resolve these claims, in the face of various defenses,
                    including statutes of limitation defenses. The Brooke plaintiffs’
                    claims are worth much less than the Amorin plaintiffs’ claims.118




115
      Id. at 5.
116
      Id.
117
      Id. at 2.
118
      Id.


                                                      26
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            Mr. Mayo further discounts the value of the claims of absent Class Members (“New

Claims”) on the grounds that they “are worth significantly less than the Amorin plaintiffs’ claims

and less than the Brooke plaintiffs’ claims.”119 He ascribes a value of 5% to the New Claims in

comparison to Amorin Plaintiffs’ claims (in other words, a 95% discount is applied to these

claims).

            With regard to Product ID, the Allocation Model assigns certain discounts to the value of

various categories of Covered Chinese Drywall that Defendants deny manufacturing and/or which

were determined by the Special Master in Florida not to be attributable to Taishan. Because BNBM

admits it manufactured (A) BNBM and Dragon Board and because Taishan admits it manufactured

(E) DUN, (H) TAIAN TAISHAN and Taihe Edge Tape, and (K) Venture Supply, the presence of

any of those brands of drywall in an Affected Property will not impose a discount on the value of

the Allocation Amount for that property.120 However, where there is evidence that (D) Crescent

City Gypsum, (I) MADE IN CHINA MEET[S] OR EXCEED[S], or (J) various drywall

dimensions, including 4feet[x/*]12feet[x/*]1/2inch, was installed in the Affected Property, a 25%

discount will be applied since Defendants admit they “manufactured some [but not all] of the

drywall” in those categories (i.e., these categories of Covered Chinese Drywall have a value of

75% in comparison to the admitted brands).121 Further, where the indicia of Product ID involves

drywall that Defendants deny manufacturing, such as (B) C&K, (C) Chinese Manufacturer #2

(purple stamp), (F) IMT Gypsum, (G) Prowall, or (L) White Edge Tape, boards with no markings

or boards with no markings other than numbers or letters, an 80% discount is applied (i.e., the



119
      Id.
120
      Id. at 3.
121
      Id.


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Allocation Neutral assigned these brands of drywall a 20% value in comparison to admitted

brands).122 Notably, Special Master Tiffani Lee in Florida ruled against Plaintiffs with regard to

(B) C&K, (F) IMT Gypsum, (G) Prowall, and (L) White Edge Tape and “blank boards” during the

Litigation, finding insufficient evidence that Taishan manufactured those particular products.123

            In order to equitably account for various prior payments received by a majority (but not

all) of the Class Members for their Chinese Drywall claims, the Allocation Model applies fair

discounts (Set-Offs) to the square footage of the Affected Property on the basis that “the [prior]

settlement paid for a portion of the remediation, theoretically reducing the square footage for which

additional remediation is necessary.”124 To calculate the appropriate discount for prior payments,

the Allocation Neutral instructs the Claims Administrator to divide the total amount of prior

payments by the value of the 2019 Remediation Formula Damages Calculation for the Affected

Property at issue (i.e., the 2019 R.S. Means calculation for the Property), which will result in the

percentage by which the Under Air Square Footage for the property should be adjusted.125

            In situations where multiple parties have filed a claim with respect to the same Affected

Property, if the claim is between (1) a condominium owner and condominium association or (2) a

non-profit organization and homeowner, the condominium association or non-profit organization

is assigned 92.5% of the Allocation Amount and the condominium owner or homeowner is




122
      Id.
123
   See Product ID R&R at 5-7 (Exhibit “5” hereto) and Plaintiffs’ Objections to and Appeal from Product
ID R&R at 16-20 (Exhibit “6” hereto).
124
      See Allocation Model [Rec. Doc. 22304-1], at 4.
125
   Id. (“For example, assuming a $20,000 prior payment, a home with 2000 square feet of space, and a
$250,000 2019 Remediation Formula Calculation for the Unit, the discount is 20,000/250,000 or 8%. Thus,
with a remaining square footage of 92% and a multiple of .92, the Adjusted Square Footage for the Unit,
as used in the allocation calculation, is 1840 square feet.”).


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assigned the remaining 7.5%.126 If multiple claims for the same property are submitted by property

owners, either former and/or current owner(s) (i.e., “Competing Claimants”), the Allocation Model

establishes a default rule that the former owner is entitled to 100% of the Allocation Amount absent

an assignment or evidence of fraudulent concealment.127 However, a Competing Claimant was

required to submit to the Claims Administrator by October 3, 2019, documentation to support his

or her allocation of the Allocation Amount.128

            Finally, if the Class Member assigned his or her remediation claim to a third party that is

not a Settlement Class Member (e.g., a commercial builder that is excluded from the Settlement)

(“Assigned Claim”), or the Class Member is a condominium owner or former owner and the

condominium association is a Plaintiff that received a separate settlement offer from Taishan and

is excluded from the Settlement Class (as set forth on Exhibit 1 to the Settlement Agreement)

(“Split Claim”), those Class Members are ascribed 7.5% of the Allocation Amount for the Affected

Property at issue.129

            The application of any discounts to the Under Air Square Footage of Affected Properties

in the Settlement (for Product ID, prior payments, and/or Class Member Status), results in an

“adjusted square footage” for the properties. After all of the Affected Properties are evaluated to

determine whether any discounts should be applied, the aggregate adjusted square footage of all

Affected Properties in the Settlement (taking into account the reductions for Assigned Claims and




126
      Id. at 5.
127
      Id. at 6.
128
      See Settlement Agreement [Rec. Doc. 22305-2], at § 12.1.2.
129
      Allocation Model [Rec. Doc. 22304-1], at 6.


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Split Claims) will be divided into the total funds available for distribution to the Class130 to

determine the amount per square foot that will be awarded to each Eligible Class Member.131

           In the Court’s Preliminary Approval Order, the Court found that the Allocation Neutral

appropriately performed his assigned function.132 During the Class Notice/Opt-Out period, the

Allocation Model was available for review by Settlement Class Members on the Settlement

Website and on the Court’s docket. The Settlement provides that the review, determination and

approval of the Allocation Model by the Court shall be final and binding on the Parties and the

Class. There shall be no right of appeal of the approval of the Allocation Model to any other court,

including the U.S. Court of Appeals for the Fifth Circuit, such right of appeal having been

knowingly and intentionally waived by each Settlement Class Member.133

                  6.       Challenges to Information on the Master Spreadsheet.

           In accordance with the Settlement Agreement, on August 29, 2019, Settlement Class

Counsel filed on the Court’s docket and published on the Chinese Drywall Settlement Website

(ChineseDrywallSettlement.com) the Master Spreadsheet of Known Class Member Claims with

sufficient proof of indicia of Covered Chinese Drywall in the subject Affected Property.134 The

Master Spreadsheet includes the following information for each Claim: (i) Under Air Square


130
   The Settlement provides that the costs for Claims Administration, individual mailed notice, and the
services of the Allocation Neutral may be deducted from the Settlement Fund, subject to court approval. In
addition, if the Court grants Settlement Class Counsel’s motion for incentive awards for the Priority
Plaintiffs, Select Claimants, and Settlement Class Representatives, and Class Counsel’s motion for an
award of 30% in attorneys’ fees and 3% in cost reimbursements for Common Benefit Counsel and
Individually Retained Attorneys [Rec. Doc. 22363], those amounts will be deducted from the Settlement
prior to calculating Allocation Amounts for Class Members.
131
      Allocation Model [Rec. Doc. 22304-1], at 7.
132
      See Preliminary Approval Order [Rec. Doc. 22314], at ¶ 6.
133
      See Settlement Agreement [Rec. Doc. 22305-2], at § 6.6.
134
      Rec. Doc. 22312-1.


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Footage, (ii) Product Identification, (iii) Ownership Status, (iv) Remediation Status, (v) Set-Offs,

(vi) Assignments of rights to pursue Claims, and (vii) whether the claimant is an Amorin Plaintiff

or a Brooke Plaintiff.135 Settlement Class Members were afforded an opportunity to dispute the

information on the Master Spreadsheet relating to his or her Claim by providing to the court-

appointed Claims Administrator BrownGreer what he or she contends to be the correct

information, as well as any supporting evidence or corroborating documentation by October 3,

2019.136

            BrownGreer received 109 challenges from Class Members disputing information on the

Master Spreadsheet with regard to their Claims.137 BrownGreer evaluated these challenges, and,

where appropriate, modified the information on the Master Spreadsheet for the challenges that

were granted.138 On October 31, 2019, BrownGreer published a Revised Master Spreadsheet on

the MDL docket139 and the Chinese Drywall Settlement Website, and followed up by issuing a

Challenge Determination Notice to each Class Member who timely submitted a challenge under

the Settlement.140

            If the Settlement is approved, absent Class Members and any other Class Members not

listed on the Master Spreadsheet who seek an Allocation Amount must complete the Claim Form

approved by the Court under oath and submit supporting proofs of Objective Allocation Criteria




135
      Id.
136
      Settlement Agreement [Rec. Doc. 22305-2], at § 12.1.2; [Rec. Doc. 22316-1], at 6.
137
   See Declaration of Jacob Woody (“Woody Declaration”) dated 12/2/2019 (attached as Exhibit “12”
hereto), at ¶ 10.
138
      Id.
139
      Rec. Doc. 22355-1.
140
      Woody Declaration, at ¶ 11.


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to the Claims Administrator141 no later than the deadline set by the Court for making a claim for

an Allocation Amount, which shall be within 30 days of Final Approval.142

                    7.    Claims Administration.

           Under the Settlement, the Claims Administrator shall distribute Allocation Amounts based

on the application of the Allocation Model to the Objective Allocation Criteria in the Master

Spreadsheet (as revised based on challenges accepted by BrownGreer) for known Class Members,

and to the supporting proofs of Objective Allocation Criteria timely submitted to the Claims

Administrator by absent Class Members or any other Class Members not listed on the Master

Spreadsheet. No additional evidence, documents or other information shall be considered by the

Claims Administrator.143

           Once the Allocation Amounts are calculated, BrownGreer will provide each Class Member

seeking an award of Settlement funds “with an Allocation Amount determination made solely by

the Claims Administrator, and a brief summary or explanation of how the Class Member’s

objective facts and circumstances were applied under the Allocation Model.”144 The Settlement

provides Class Members with an opportunity to appeal the determination of their Allocation

Amount on the grounds that the Allocation Model was “misapplied to his or her Claim.”145




141
      See Claim Form [Rec. Doc. 22305-6]; Preliminary Approval Order [Rec. Doc. 22314], at ¶ 8.
142
      Settlement Agreement [Rec. Doc. 22305-2], at § 12.1.4.
143
      Id. at § 12.1.5.
144
      Id. at § 12.2.1.
145
      Id. at § 12.2.2.


                                                     32
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                        8.   Notice.

           The Class Notice Period commenced upon the entry of the Preliminary Approval Order.146

To satisfy Federal Rule of Civil Procedure 23 and Due Process, Settlement Class Counsel directed

the Claims Administrator to disseminate the long-form notice approved by the Court147 by first-

class mail, postage prepaid, to the last known address of all known Class Members and their

counsel of record, if any. The Notice contained sufficient information for each Class Member to

make an informed decision by clearly and concisely stating, in plain English, the nature of the

action, class definition, claims and defenses, and that any Class Member could object and enter an

appearance. The Notice also explained that a Class Member could object to the Settlement, and

provided the manner for objecting and the deadline for doing so. Further, the Notice explained

how a Class Member could request exclusion, the time and manner for requesting exclusion, and

the binding nature of a judgment on Class Members who do not request exclusion.

           In addition, BrownGreer was asked by the Court and the Parties to provide Amorin

Plaintiffs and Brooke Plaintiffs identified on the Master Spreadsheet with gross estimates of their

potential recovery under the Settlement (before deducting attorneys’ fees and costs approved by

the Court). BrownGreer applied the Allocation Model148 to the following information on the

Master Spreadsheet for each Affected Property149: (a) Under Air Square Footage; (b) Product ID;

(c) prior payments received by the Class Member for Chinese Drywall claims made with respect

to the subject Affected Property; (d) whether the Class Member assigned any of his or her rights



146
      Id. at § 8.1.1.
147
      See Preliminary Approval Order [Rec. Doc. 22314], at ¶ 11; Long-Form Notice [Rec. Doc. 22316-1].
148
      Rec. Doc. 22304-1.
149
      See Master Spreadsheet [Rec. Doc. 22312-1].


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to pursue claims with respect to the Affected Property; (e) whether the Class Member is an Amorin

Plaintiff or a Brooke Plaintiff; and (f) whether multiple parties are asserting a claim regarding the

Affected Property.150 To arrive at a gross estimate for each Affected Property on the Master

Spreadsheet, BrownGreer took into consideration the estimated costs of class notice and claims

administration, and made assumptions regarding the number and value of claims that will be made

by absent Class Members.151 The Claims Administrator then prepared a letter (“Estimate Letter”)

for each Class Member on the Master Spreadsheet setting forth an estimated gross recovery under

the Settlement.152

            In cases where multiple parties have filed a claim with respect to the same Affected

Property, BrownGreer prepared Estimate Letters notifying each of the competing Class Members

that they must submit to the Claims Administrator any documents they have to support their claim

no later than 35 days from the date of the Preliminary Approval Order.153 BrownGreer also

provided the competing Claimants with the total gross estimated recovery for the Affected

Property at issue.154

            On September 9, 2019, BrownGreer mailed to each known Class Member, via First Class

Presort Mail, postage prepaid, a long-form notice, and for the Amorin Plaintiffs and Brooke

Plaintiffs on the Master Spreadsheet, BrownGreer included an individualized Estimate Letter in

the notice package.155 For the dissemination of mailed notice, the Claims Administrator used the



150
      Woody Declaration, at ¶ 3.
151
      Id. at ¶ 4.
152
      Id.
153
      Id. at ¶ 5.
154
      Id.
155
      Id. at ¶ 6 & Exhibits “A” & “B” thereto.


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mailing addresses for known Class Members identified on the BrownGreer Portal, the mailing

addresses set forth in the most recent SPPFs, the mailing addresses provided by individual counsel

of record, and/or the mailing addresses identified by BrownGreer through the United States Postal

Service National Change of Address Database, to account for any discrepancies in the addresses

of Class Members.156 In total, BrownGreer mailed 3,965 notices to the Class.157 In addition,

BrownGreer sent the long-form notice and/or Estimate Letter via email to all counsel of record for

Class Members (80 law firms received a copy of the long-form notice).158 Counsel with clients on

the Master Spreadsheet also received a spreadsheet with their clients’ names and gross estimate

amounts via email with the long-form notice.159

            In accordance with the Preliminary Approval Order, Settlement Class Counsel provided a

copy of the Notice to the MDL Court clerk and requested that it be posted at each courthouse and

on all court dockets where the CDW-Related Actions are pending, including the MDL Court, the



156
      Id. at ¶ 6.
157
   Id. After BrownGreer mailed the long-form notices and Estimate Letters, 189 notices were returned, and
following further investigation to obtain updated addresses from the United States Postal Service National
Change of Address Database, 163 notices and, where applicable, the Estimate Letter were resent to Class
Members. On several occasions, BrownGreer received updated address information from Class Members
through the court-approved Settlement Website, Call Center, and/or through their counsel, in which case
the Claims Administrator resent the notice and, where applicable, the Estimate Letter. Id. at ¶ 8. In total,
BrownGreer transmitted the long-form notice to more than 99% of the known Class Members and to all
counsel of record for these Class Members. Despite a concerted effort to individually mail the long-form
notice to all known Class Members, approximately 26 returned notices were unable to be delivered, but
these notices were intended for Class Members in Florida (17), Louisiana (5), and Mississippi (4) (see
Woody Declaration, at ¶ 8). The Media Program developed and implemented by Kinsella Media, and
approved by the Court, heavily targeted these states. See Declaration of Shannon R. Wheatman, Ph.D. on
Implementation of Notices and Notice Plan dated 12/2/2019 (“Wheatman Declaration”) (attached hereto as
Exhibit “13”), at ¶ 6). In any event, counsel of record, if any, for each of these Class Members received the
long-form notice (see Woody Declaration, at ¶ 8), and the long-form notice was published on the Court’s
website, the Court’s docket, the dockets of each Court where CDW-Related Actions are pending, and the
Settlement Website.
158
      Woody Declaration, at ¶ 7.
159
      Id.


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Florida Courts, the Virginia Courts, and all other Courts listed on Exhibit 6 to the Settlement

Agreement.160 This Court facilitated the posting of Notice by writing a letter to all United States

District Courts, the Fifth Circuit Court of Appeals, and to State Judges where CDW-Related

Actions are pending,161 and by posting it on the Court’s MDL Chinese Drywall website.

            As set forth in the long-form notice, Settlement Class Counsel established a toll-free

number for Class Members to call with questions about the Settlement (“Call Center”) and set up

a Chinese Drywall Settlement website (ChineseDrywallSettlement.com) that provides Class

Members an opportunity to review relevant Settlement materials and send written requests or

questions to Settlement Class Counsel.162 The Settlement Agreement, Master Spreadsheet, Notice,

and important deadlines are posted on the website. In addition, there are answers to Frequently

Asked Questions (“FAQs”) for both individual Class Members and Attorneys.163

            Settlement Class Counsel fulfilled their duty to answer inquiries from Settlement Class

Members and potential members of the Settlement Class that were received primarily through the

Call Center, by email via the Chinese Drywall Settlement website, and from direct inquiries made

to the individual offices of Settlement Class Counsel. In total, Settlement Class Counsel responded

to more than 270 inquiries made by Class Members and potential Class Members from 24 different

states.164 To respond to those inquiries, Settlement Class Counsel researched the specifics of


160
      Class Counsel Declaration, at ¶ 27.
161
   See, e.g., Letter from Judge Fallon, filed on the Amorin docket in the U.S.D.C. for the Southern District
of Florida (FLSD ECF No. 336) (attached hereto as Exhibit “14”).
162
      Class Counsel Declaration, at ¶ 28.
163
      Id.
164
   Id. at ¶ 29 (calls were made by Class Members and potential Class Members from Alabama, Arkansas,
Arizona, California, Colorado, Florida, Georgia, Iowa, Idaho, Illinois, Kansas, Kentucky, Louisiana,
Massachusetts, Maryland, Michigan, Mississippi, North Carolina, New York, Pennsylvania, Ohio, South
Carolina, Texas, and Virginia).


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individual claims, confirmed information on the Master Spreadsheet, updated or corrected

objective information, such as mailing addresses and name changes, facilitated communication

with the Claims Administrator and/or individual counsel, and generally answered any questions

and listened to the concerns that the Class Member or potential Class Member had.165 In addition,

when appropriate, Settlement Class Counsel immediately notified individual counsel of specific

concerns or questions raised by Class Members or potential Class Members they represent.

Settlement Class Counsel also provided individual counsel with a list of the names of all of their

clients, to the best that they could be identified, who made inquiries to Settlement Class Counsel.166

            Further, Settlement Class Counsel monitored activity on the Chinese Drywall Settlement

website. During the Class Notice Period, the website was accessed by over 86,000 users and had

in excess of 121,000 page views. Importantly, the website was accessed by individuals from all 50

states plus the District of Columbia, with the top five (5) states being Florida, Georgia, Virginia,

Texas, and California. Settlement Class Counsel responded to all inquiries sent by Class Members

and others through the Settlement website.167

            To provide notice to absent Class Members, Taishan retained Kinsella Media LLC

(“Kinsella Media”) to develop and implement the Media Notice Program approved by the Court.168

This plan included paid media in states containing at least one Affected Property of Amorin or

Brooke Plaintiffs.169 The media program heavily targeted the six states that each have over 1% of

the Chinese Drywall Claims of Amorin and Brooke Plaintiffs – Florida, Louisiana, Alabama,


165
      Id.
166
      Id.
167
      Id. at ¶ 30. See also Analytics of Settlement Website Data (attached hereto as Exhibit “15”).
168
      See generally Wheatman Declaration.
169
      Id. at ¶ 6.


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Virginia, Mississippi, and Georgia (“Top 6 States”).170 These six states combined account for over

90% of the known Chinese Drywall products at issue in this Settlement.171 Accordingly, the media

program included one newspaper to cover each media market in Florida and Louisiana, ads on two

lifestyle websites in Florida and Louisiana, Hispanic newspapers for each media market in

Florida,172 and a national magazine and national digital media that reached all states affected by

this Litigation. Additionally, a heavier concentration of statewide digital media was targeted to the

Top 6 States.173

            The short-form, summary notice (“Publication Notice”) approved by the Court was

published in English and/or Spanish in the following newspapers and magazines: People, News

Press, Gainesville Sun, Florida Times Union, Miami Herald, Orlando Sentinel, Panama City News,

Tallahassee Democrat, Tampa Bay Times, Palm Beach Post, Baton Rouge Advocate, Daily

Advertiser, American Press, Monroe News Star, New Orleans Advocate, Shreveport Times,

Nuevo Ecos, Hola Noticias, El Clarin, El Sentinel, Centro Tampa, El Semanario Acción.174

Publication in each newspaper and magazine occurred bi-weekly, weekly, or one time depending

on each publication’s specific schedule for thirty (30) days.175 The Media Notice Program also

included a 30-day digital program comprised of programmatic advertising and social media with



170
      Id.
171
   Florida and Louisiana account for 75.8% of the known Chinese Drywall claims in this Settlement and
the four other states (Alabama, Virginia, Mississippi, and Georgia) account for an additional 14.7% of the
known Chinese Drywall claims in this Settlement. The breakdown by state is: Florida (62.0%), Louisiana
(13.8%), Alabama (6.6%), Virginia (5.2%), Mississippi (1.8%), Georgia (1.1%). Id. at ¶ 6.
172
  Hispanic population represents 26.1% of Florida, which is higher than the national average of 18.3%.
QuickFacts, Census.gov (2018), https://www.census.gov/quickfacts/fact/table/FL,US/PST045218.
173
      Id. at ¶ 6.
174
      Id. at ¶¶ 16-18.
175
      Id.


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focused targeting based on keywords, geography, and topics.176 Further, the media program

included banner ads on digital media, including premium websites (e.g., DIY Network), local news

and newspapers sites, including Florida Weekly and Louisiana Life, contextual targeting,

Facebook, and Google Display Network (which includes YouTube).177

            Finally, Settlement Class Counsel issued a press release about the Settlement, which was

distributed on PR Newswire’s US1 news circuit reaching 5,400 traditional media outlets

(television, radio, newspapers, magazines) and relevant trade publications and 4,000 national

websites.178 The release highlighted the Call Center toll-free telephone number and the Settlement

website address, so that Class Members could obtain complete information about their rights under

the Settlement.179

                     9.    Opt-Outs.

            Class Members were afforded ninety (90) days following the commencement of the Class

Notice Period (i.e., until November 27, 2019) to opt out of the Settlement by submitting to

Settlement Class Counsel an original request to opt out signed by the Class Member.180 A total of

92 opt-out requests were sent to Settlement Class Counsel181, but not all complied with § 9 of the

Settlement Agreement.182 The total numbers of compliant opt-out requests are as follows: 78

known Class Members (representing only 2% of known Class Members) and 12 apparent absent


176
      Id. at ¶ 19.
177
      Id.
178
      Id. at ¶ 20.
179
      Class Counsel Declaration, at ¶ 33; Wheatman Declaration, at ¶ 20.
180
   Settlement Agreement [Rec. Doc. 22305-2], at § 9.1.1; Preliminary Approval Order [Rec. Doc. 22314],
at ¶ 16.
181
  All of the opt-out requests have been filed on the Court docket. See Notice of Filing of Opt-Outs [Rec.
Doc. 22388].
182
      See note 8, supra.


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Class Members.183 The remainder of the opt-out requests received by Class Counsel were deficient

for various reasons. One opt-out request was untimely and otherwise not valid.184 One opt-out

request was submitted by a non-Class Member.185 And several opt-out requests purported to name

multiple claimants, but were signed by only one claimant.186

           All but 4 of the opt-outs are represented by the same attorney, Jimmy Doyle.187 The Class

Members who did not opt out by the end of the opt-out deadline will be bound by the Settlement

if it is approved by the Court, and the relief provided by the Settlement Agreement will be their

sole and exclusive remedy for the Claims alleged by the Class.188

                   10.     Objections.

           Class Members were afforded the right to object to the Settlement, any terms of the

Settlement Agreement, and/or the approval process.189 Out of 3,948 known Class Members, only

22 submitted Objections. As set forth in detail below in Section III.G, none of these Objections

has any merit, and they should all be overruled.


183
   See List of Opt-Out Plaintiffs (Exhibit “2” hereto). Exhibit 2 does not include opt-out requests that did
not comply with § 9 of the Settlement Agreement. See note 8, supra.
184
      See note 8, supra.
185
   Juana Martinez, who is represented by Jimmy Doyle, submitted an opt-out request [Rec. Doc. 22388-
44], however, she is not a Settlement Class Member. Ms. Martinez was previously represented by Parker
Waichman, who provided the PSC with authority to voluntarily dismiss her claim. Ms. Martinez’s claim
was dismissed by Judge Cooke in Florida [see Rec. Docs. 21888-1 & 21888-2] and also in the MDL [Rec.
Doc. 21894]. Accordingly, Ms. Martinez is not a Class Member, and, therefore, her opt-out request is not
valid, and she is not listed as an Opt-Out Plaintiff on Exhibit “2” hereto. Notice has been sent to her counsel
of record, Jimmy Doyle, regarding this issue.
186
   See Notice of Filing of Opt-Outs [Rec. Docs. 22388-5, 22388-30, 22388-54, 22388-55, and 22388-88].
For those opt-out requests, Class Counsel recognize that the opt-out request is valid as to the party who
signed the request, but not as to the non-signing additional party(ies).
187
      See Notice of Filing of Opt-Outs [Rec. Doc. 22388].
188
      Settlement Agreement [Rec. Doc. 22305-2], at § 9.1.1.
189
    Settlement Agreement [Rec. Doc. 22305-2], at § 10.1; Preliminary Approval Order [Rec. Doc. 22314],
at ¶ 17.


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                  11.     Attorneys’ Fees.

          Settlement Class Counsel filed a Fee Petition that is set for hearing on December 11,

2019.190 The motion seeks an award of attorneys’ fees equal to 30% of the Settlement Fund for

Common Benefit Counsel and Individually Retained Attorneys and expense reimbursements

totaling 3% of the Settlement Fund.191 The award of any attorney’s fee or reimbursement of any

cost, including the allocation between and amongst the Attorneys, shall be determined by the

Court; and all Attorneys agree that such determination is not appealable and hereby waive all

appeals of any such determination.192

                  12.     Incentive Awards.

          The Parties recommend to the Court that Incentive Awards of $10,000 be made, subject to

Court approval, to the Priority Plaintiff claimants in Florida (one incentive award per property)

who are members of the Settlement Class, and to the Select Claimants in Louisiana (one incentive

award per property) who are members of the Settlement Class. These awards will appropriately

recognize their efforts in participating in additional individualized discovery, including subjecting

themselves for a deposition. The Parties further recommend Incentive Awards of $2,500 for the

Settlement Class Representatives (to the extent they are not Florida Priority Plaintiff claimants or

Louisiana Select Claimants) in recognition of their efforts in serving as named class

representatives.


190
   Fee Petition [Rec. Doc. 22363]. Notably, no opposition to the Fee Petition was filed by the response
deadline, November 27, 2019.
191
    The Settlement Agreement provides that Petitioning Attorneys shall be entitled to petition the MDL
Court for attorneys’ fees totaling in the aggregate up to 32% of the Settlement Funds, and reimbursement
of reasonable expenses, excluding the cost of notice. See Settlement Agreement [Rec. Doc. 22305-2], at §
16.1. Settlement Class Counsel have agreed to limit the combined fee and expense request to 33% of the
Settlement Fund, comprised of 30% in fees and the remaining 3% toward expenses, as set forth above. Fee
Petition [Rec. Doc. 22363].
192
      Settlement Agreement [Rec. Doc. 22305-2], at § 16.1.

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III.    ARGUMENT

        A.       Settlements of Complex Class Actions Are Favored.

        In determining whether to approve the Settlement, the Court should be guided by the strong

judicial policy favoring pretrial settlement of claims in complex class action lawsuits. See, e.g.,

Maher v. Zapata Corp., 714 F.2d 436, 455 (5th Cir. 1983); Cotton v. Hinton, 559 F.2d 1326, 1331

(5th Cir. 1977); Turner v. Murphy Oil USA, Inc., 472 F. Supp. 2d 830, 843 (E.D. La. 2007) (Fallon,

J.); Braud v. Transp. Serv. Co. of Ill., 2010 WL 3283398, at *3 (E.D. La. Aug. 17, 2010) (Knowles,

Mag. J.).193 The policy favoring settlement exists, in part, because of the complexity and size of

class actions:

                 Particularly in class action suits, there is an overriding public
                 interest in favor of settlement. . . . It is common knowledge that class
                 action suits have a well deserved reputation as being most complex.
                 The requirement that counsel for the class be experienced attests to
                 the complexity of the class action. . . . In these days of increasing
                 congestion within the federal court system, settlements contribute
                 greatly to the efficient utilization of our scarce judicial resources.

Cotton, 559 F.2d at 1331 (citing United States v. Allegheny-Ludlum Indus., Inc., 517 F.2d 826 (5th

Cir. 1975); Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976); Eisen v. Carlisle

& Jacquelin, 391 F.2d 555 (2d Cir. 1968)); see also Murphy Oil, 472 F. Supp. 2d at 843 (“The

public interest favoring settlement is especially apparent in the class action context where claims

are complex and may involve a large number of parties, which otherwise could lead to years of

protracted litigation and sky-rocketing expenses.”).




  “Federal Courts look with great favor upon the voluntary resolution of litigation through settlement . . ..
193

This rule has particular force regarding class action lawsuits.” Air Line Stewards & Stewardesses Ass’n,
Local 550 v. Trans World Airlines, Inc., 630 F.2d 1164, 1166-67 (7th Cir. 1980) (citation omitted).

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       This Settlement preference also exists, in part, because of the amount of time and resources

complex cases take to resolve, as illustrated by these proceedings, which now have been ongoing

for over ten years:

                  Complex litigation – like the instant case – can occupy a court’s
                  docket for years on end, depleting the resources of the parties and
                  the taxpayers while rendering meaningful relief increasingly
                  evasive. Accordingly, the Federal Rules of Civil Procedure
                  authorize district courts to facilitate settlements in all types of
                  litigation, not just class actions. . . . Although class action
                  settlements require court approval, such approval is committed to
                  the sound discretion of the district court.

In re U.S. Oil & Gas Litig., 967 F.2d 489, 493-94 (11th Cir. 1992) (citations omitted) (citing Fed

R. Civ. P. 16(a), 16(c), 23(e); Bennett v. Behring, 737 F.2d 982, 987 (11th Cir. 1984); Cotton, 559

F.2d at 1331)).

       B.         Standards for Approval of Class Settlements.

       Determining the fairness of class settlements is left to the sound discretion of the district

court. See In re Chicken Antitrust Litig. Am. Poultry, 669 F.2d 228, 238 (5th Cir. 1982) (citing

Miller v. Republic Nat’l Life Ins. Co., 559 F.2d 426, 429 (5th Cir. 1977)); Reed v. Gen. Motors

Corp., 703 F.2d 170, 172 (5th Cir. 1983); Parker v. Anderson, 667 F.2d 1204, 1209 (5th Cir.),

cert. denied, 459 U.S. 828 (1982); In re Corrugated Container Antitrust Litig., 643 F.2d 195, 218

(5th Cir. 1981), cert. denied, 456 U.S. 998 (1982); Pettway v. Am. Cast Iron Pipe Co., 576 F.2d

1157, 1214 (5th Cir. 1978), cert. denied, 439 U.S. 1115 (1979); Cotton, 559 F.2d at 1331; Young

v. Katz, 447 F.2d 431, 432 (5th Cir. 1971); see also U.S. Oil & Gas, 967 F.2d at 493-94. The Fifth

Circuit has consistently held that, as a result of their highly-favored status, settlements “‘will be

upheld whenever possible because they are a means of amicably resolving doubts and preventing

lawsuits.’” Miller, 559 F.2d at 428 (quoting Pearson v. Ecological Sci. Corp., 559 F.2d 171, 176

(5th Cir. 1975)). Moreover, because settlements of class actions are “particularly favored,” they

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are not to be lightly rejected. Maher, 714 F.2d at 455; see also Cotton, 559 F.2d at 1331; Murphy

Oil, 472 F. Supp. 2d at 843.

        “[T]he proponents of the [class] settlement bear the burden of demonstrating that the

settlement is fair, reasonable, and adequate.” Murphy Oil, 472 F. Supp. 2d at 844. However, in the

absence of contrary evidence, there is a presumption “in favor of the settlement’s fairness.” Id. at

843; see also United States v. Tex. Educ. Agency, 679 F.2d 1104, 1108 (5th Cir. 1982); Camp v.

The Progressive Grp., 2004 WL 2149079, at *7 (E.D. La. Sept. 23, 2004) (“The court may presume

that a proposed settlement is fair and reasonable when it is the result of arm’s length negotiations.”)

(citing 4 Alba Conte & Herbert B. Newberg, 4 Newberg On Class Actions § 11.41 (4th ed. 2002)).

        In its role as a “fiduciary for absent class members,” the district court has a responsibility

to “critically examine[] the settlement’s terms and implementation.” Murphy Oil, 472 F. Supp. 2d

at 843; see also Reynolds v. Beneficial Nat’l Bank, 288 F.3d 277, 279-80 (7th Cir. 2002);

Georgevich v. Strauss, 96 F.R.D. 192, 196 (M.D. Pa. 1982) (“[T]he Court must vigorously act as

guardian of the rights of absentee class members.”), vacated on other grounds, 772 F.2d 1078 (3d

Cir. 1985) (“Before a court approves a class action settlement, it must determine that the settlement

is fair, adequate, and reasonable”), cert. denied, 475 U.S. 1028 (1986); 1 Newberg On Class

Actions § 1:3 (4th ed.); Manual for Complex Litig. § 21.61 (4th ed. 2004). In so doing, the district

court must “‘exercise the highest degree of vigilance.’” Murphy Oil, 472 F. Supp. 2d at 843

(quoting Reynolds, 288 F.3d at 279-80).194 That vigilance is most meaningfully exercised where,



194
   In adjudicating the motion for final approval, “[t]he Court must be exacting and thorough in analyzing
whether the settlement is in the best interests of class members, and should provide the basis for its
conclusions in a reasoned opinion.” Murphy Oil, 472 F. Supp. 2d at 842 (citing Manual for Complex Litig.
§ 21.61 (4th ed. 2004)); see also In re Combustion, Inc., 968 F. Supp. 1116, 1125 (W.D. La. 1997) (stating
that a court may not give boilerplate approval to settlement, but must instead analyze the facts and law
supporting its conclusion in a memorandum); In re Wireless Tel. Fed. Cost Recovery Fees Litig., 396 F.3d
922, 933 (8th Cir.), cert. denied, 546 U.S. 822 (2005).

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as here, the interests of Class Members are both preserved and protected by a fair and reasonable

resolution of their claims.

       Yet, it is widely recognized that courts should exercise restraint in examining a proposed

settlement for possible revision, and should not “make a proponent of a proposed settlement justify

each term of settlement against a hypothetical or speculative measure of what concessions might

have been gained; inherent in compromise is a yielding of absolutes and an abandoning of highest

hopes.” Cotton, 559 F.2d at 1330 (quotation marks omitted). In other words, in weighing the

benefits obtained by settlement against the hypothetical benefits that would accrue only upon a

litigated recovery on the merits, courts are not expected to balance the scales. See id. The very

object of a compromise is the certainty of resolution, and thus “to avoid the determination of

sharply contested and dubious issues.” Young, 447 F.2d at 433.

       For this reason, the jurisprudence discourages a court from engaging in a hypothetical trial

on the merits when considering the propriety of a settlement:

               It cannot be overemphasized that neither the trial court in approving
               the settlement nor [the appellate court] in reviewing that approval
               have the right or the duty to reach any ultimate conclusions on the
               issues of fact and law which underlie the merits of the dispute.

Cotton, 559 F.2d at 1330 (quoting Grunin v. Int’l House of Pancakes, 513 F.2d 114, 123 (8th Cir.),

cert. denied, 423 U.S. 864 (1975) and citing City of Detroit v. Grinnell Corp., 495 F.2d 448, 456

(2nd Cir. 1974)); see also Murphy Oil, 472 F. Supp. 2d at 843 (“The Court may not resolve

contested issues of fact or law, but instead is concerned with the overall fairness, reasonableness,

and adequacy of the proposed settlement as compared to the alternative of litigation.”). The trial

court is not required to decide the merits of the action or substitute a different view of the merits

for that of the parties or counsel. Maher, 714 F.2d at 455 n.31 (“In other words, in determining the

fairness, reasonableness, and adequacy of a proposed settlement, neither the district court nor the

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appellate court on review, should reach ultimate conclusions on the issues of fact and law

underlying the dispute.”); Tex. Educ. Agency, 679 F.2d at 1108 (in approving a class settlement

“we do not thereby reach any ultimate conclusions on the issues of fact and law which underlie

the merits of the dispute, as we recognize that normally a settlement is a process of compromise

in which, in exchange for the saving of cost and elimination of risk, the parties each give up

something they might have won had they proceeded with the litigation, . . . rather than an attempt

to precisely delineate legal rights.”) (citations and internal quotation marks omitted).

       C.      The Requirements of Rule 23 Have Been Met For Certification of the
               Class.

       In this case, a litigation class involving the Amorin Plaintiffs has already been certified by

this Court, see Class FOFCOL, 2014 WL 4809520, and adopted by both Judge Cooke in Florida

and Judge Davis in Virginia on remand. See Order, Amorin v. Taishan Gypsum Co. Ltd., No. 1:11-

cv-22408-MGC (S.D. Fla. Nov. 16, 2018) (FLSD ECF No. 112) [Rec. Doc. 21933-1] (adopting

all MDL rulings including certification of the Amorin class); Amorin v. Taishan Gypsum Co. Ltd.,

2:11-cv-377, 2019 WL 2172707, at *2 (E.D. Va. May 20, 2019) (VAED ECF No. 87) [Rec. Doc.

22253-1] (adopting all pre-remand rulings of the MDL including certification of the Amorin class).

Given that the Amorin class was already certified for litigation purposes, the requirements for

certification under Rule 23 are readily met for the proposed Settlement Class.

       Rule 23(a) requires that: (1) the class is so numerous that joinder of all members is

impracticable; (2) there are questions of law or fact common to the class; (3) the claims or defenses

of the representative parties are typical of the claims or defenses of the class; and (4) the

representative parties will fairly and adequately protect the interests of the class.

       Rule 23(b)(3) requires that “questions of law or fact common to class members

predominate over any questions affecting only individual members, and that a class action is

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superior to other available methods for fairly and efficiently adjudicating the controversy.” As

determined by Amchem, the issue of class management is not relevant for purposes of certifying

the Class in the context of a settlement. Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997).

          Because the preliminarily approved Settlement Class satisfies all the criteria under Rule

23(a) and Rule 23(b)(3), the instant motion should be granted.

                  1.      Numerosity.

          The class definition includes over 2,800 Plaintiffs in the Amorin Class that filed suit against

Taishan and the Additional Released Parties alleging damages sustained as a result of Covered

Chinese Drywall that was installed in Plaintiffs’ properties. In addition, there are approximately

1,200 Plaintiffs named on one or more Brooke Complaints. The Settlement Class consists of the

Amorin Plaintiffs (with the exception of 498 Plaintiffs who were offered separate settlements by

Taishan and Plaintiffs whose claims were dismissed for failure to submit an SPPF or by motion

for voluntary dismissal), the Brooke Plaintiffs, and absent Class Members. Under these

circumstances, the numerosity factor specified in Rule 23(a)(1) is satisfied. Class FOFCOL, 2014

WL 4809520, at *11; see also Turner v. Murphy Oil USA, Inc., 234 F.R.D. 597, 604 (E.D. La.

2006) (Fallon, J.) (noting that “the Fifth Circuit has generally set the threshold of 100 to 150 people

as satisfying the numerosity requirement”).

                  2.      Commonality.

          The commonality requirement of Rule 23(a)(2) is easily satisfied in this case. The JPML

ordered that the numerous Chinese Drywall actions be consolidated in the MDL based on “the

commonality of facts in the various cases.”195 Questions surrounding the defectiveness of the

Chinese Drywall at issue, the effects of Chinese Drywall on members of the Settlement Class, and


195
      Chinese Drywall, 626 F. Supp. 2d 1346.

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the damages caused thereby, are issues common to all Plaintiffs, satisfying this element of Rule

23(a). See Califano v. Yamasaki, 442 U.S. 682, 701 (1979) (Class relief is “peculiarly appropriate”

when the “issues involved are common to the class as a whole” and they “turn on questions of law

applicable in the same manner to each member of the class.”); Wal-Mart Stores, Inc. v. Dukes, 564

U.S. 338, 359 (2011) (“[E]ven a single common question will do.”) (citations and alterations

omitted); Class FOFCOL, 2014 WL 4809520, at *11 (“The factual determination of class-wide

property damages is common to the class members, and resolution of this common question will

generate common answers apt to drive the resolution of the litigation.”).

               3.     Typicality.

       Rule 23(a)(3) requires that the class representatives’ claims be typical of the claims of the

putative class members. Fed. R. Civ. P. 23(a)(3). “Typicality measures whether a sufficient nexus

exists between the claims of the named representative[s] and those of the class at large.” Hines v.

Widnall, 334 F.3d 1253, 1256 (11th Cir. 2003) (internal quotations omitted). A plaintiff’s claim is

typical of the class members’ claims if they “arise from the same event or pattern or practice and

are based on the same legal theory.” Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337

(11th Cir. 1984), cert. denied, 470 U.S. 1004 (1985). The measure of whether a plaintiff’s claims

are typical is whether the nature of the plaintiff’s claims, judged from both a factual and a legal

perspective, are such that in litigating his or her personal claims he or she reasonably can be

expected to advance the interests of other members of the class. See, e.g., Gen. Tel. Co. of Sw. v.

Falcon, 457 U.S. 147, 156-57 (1982).

       Each of the Plaintiffs in the Settlement Class is seeking to recover, from Defendants,

remediation damages and/or Other Losses allegedly caused by Covered Chinese Drywall. The

Court previously found in Amorin that “[t]he property damage claims of the class representatives



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are typical of, if not identical in nature to, those of the class members. The determination of these

damages depends on the same factual predicate as to the manufacturer of the defective product,

product identification, the mechanism of damage occurring in Class Members’ homes, the need

for remediation, the scope of remediation, the square footage costs of accomplishing the

remediation, and alternative living expenses during remediation.” Class FOFCOL, 2014 WL

4809520, at *12. Therefore, the typicality requirement is satisfied.

                   4.       Adequacy of Representation.

           Rule 23(a)(4) requires that the named class representatives not possess interests which are

antagonistic to the interests of the class. See Amchem, 521 U.S. at 625-26 (“[A class]

[r]epresentative must be part of the class and possess the same interest and suffer the same injury

as the class members.”) (internal citation and quotations omitted). That section also mandates that

class representatives possess “a sufficient level of knowledge and understanding” to take an active

role in the litigation. Berger v. Compaq Comput. Corp., 257 F.3d 475, 482 (5th Cir. 2001) (citing

Horton v. Goose Creek Indep. Sch. Dist., 690 F.2d 470, 484 (5th Cir. 1982)). Second, the named

class representatives’ counsel “must be qualified, experienced, and generally able to conduct the

litigation.” Chinese Drywall, 2013 WL 499474, at *8.

           In this case, David Griffin, Lillian Eyrich, Michelle Germano, Virginia Tiernan, Debra

Williams, and Judd Mendelson were appointed to serve as named Class Representatives on behalf

of the Settlement Class.196 Mr. Griffin is an Amorin Plaintiff, who served as a Priority Plaintiff in

Florida.197 He formerly owned an Affected Property at 9801 Cobblestone Creek Drive, Boynton




196
      Preliminary Approval Order [Rec. Doc. 22314], at ¶ 4.
197
      See Affidavit of David Griffin (attached hereto as Exhibit “16”), at ¶ 6.


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Beach, FL, 33472.198 Ms. Eyrich is an Amorin Plaintiff, who is an attorney and served as a Select

Claimant in Louisiana.199 She owns an Affected Property at 130 22nd Street, New Orleans, LA

70124.200 Ms. Germano is an Amorin Plaintiff, who served as the named class representative in the

Germano action.201 She formerly owned an Affected Property at 8171 N. View Boulevard,

Norfolk, VA 23518.202 Ms. Tiernan is a Brooke Plaintiff, who owns an Affected Property at 4326

Garden Boulevard, Cape Coral, FL 33909.203 Ms. Williams is a Brooke Plaintiff, who owns an

Affected Property at 8600 Scottsdale Drive, New Orleans, LA 70128.204 Mr. Mendelson is a

Brooke Plaintiff, who owns an Affected Property at 1507 Burrowin Drive, Chesapeake, VA

23321.205

            Each of the Class Representatives is a member of the Settlement Class. Each has alleged

that their Property was damaged by Covered Chinese Drywall. 206 The Class Representatives do

not possess any interests antagonistic to the Class. They all have a high degree of knowledge and

understanding of the Litigation.207 They strongly support approval of the Settlement as fair,

reasonable, and adequate, and they have urged the Court to grant the instant motion.208 Moreover,



198
      See id. at ¶ 2.
199
      See Affidavit of Lillian Eyrich (attached hereto as Exhibit “17”), at ¶ 6.
200
      See id. at ¶ 2.
201
      See Affidavit of Michelle Germano (attached hereto as Exhibit “18”), at ¶ 5.
202
      See id. at ¶ 2.
203
      See Affidavit of Virginia Tiernan (attached hereto as Exhibit “19”), at ¶¶ 2, 5.
204
      See Affidavit of Debra Williams (attached hereto as Exhibit “20”), at ¶¶ 2, 5.
205
      See Affidavit of Judd Mendelson (attached hereto as Exhibit “21”), at ¶¶ 2, 5.
206
   See Affidavits of David Griffin, Lillian Eyrich, Michelle Germano, Virginia Tiernan, Debra Williams,
and Judd Mendelson (Exhibits “16” – “21” hereto).
207
      Id.
208
      Id.


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only 2% of the Class has opted out, reflecting that the overwhelming majority of the Class approves

of the Settlement, as the Class Representatives do.

       Settlement Class Counsel, individually and collectively, have vast experience in class

actions and complex litigation generally, and are well-experienced in addressing the particular

facts and circumstances of these decade-old Chinese Drywall proceedings specifically.209

Settlement Class Counsel are comprised of Plaintiffs’ Lead and Liaison Counsel in the MDL,

members of the PSC, and Interim Lead Counsel in the Florida and Virginia Amorin and Brooke

remand actions. They were lead counsel in the successful bellwether trials that took place early on

in the case; they have aggressively prosecuted the cases on remand; they have served as Class

Counsel in the Knauf and Virginia class settlements previously approved by this Court; and they

have worked tirelessly on this case and funded it for over ten years. Such zealous and continuing

representation by highly-qualified counsel has more than satisfied the requirement that the

Settlement Class be adequately represented. See Class FOFCOL, 2014 WL 4809520, at *12.

               5.      Common Questions of Law and Fact Predominate.

       “The Rule 23(b)(3) predominance inquiry tests whether proposed classes are sufficiently

cohesive to warrant adjudication by representation.” Amchem, 521 U.S. at 623. “Predominance is

established where common answers to common questions are likely to ‘drive the resolution of the

[instant] litigation.’” Class FOFCOL, 2014 WL 4809520, at *14 (quoting Dukes, 131 S. Ct. at

2551 (“what matters to class certification is not the raising of common ‘questions’ – even in droves

– but, rather the capacity of a class-wide proceeding to generate common answers apt to drive the


209
    See Class Counsel Declaration; Declaration of Class Counsel Arnold Levin (“Levin Declaration”)
(attached hereto as Exhibit “22”); Declaration of Class Counsel Stephen J. Herman (“Herman Declaration”)
(attached hereto as Exhibit “23”); Declaration of Class Counsel Patrick S. Montoya (“Montoya
Declaration”) (attached hereto as Exhibit “24”); Declaration of Class Counsel Richard J. Serpe (“Serpe
Declaration”) (attached hereto as Exhibit “25”); see also C.V.’s of Settlement Class Counsel [Rec. Doc.
22035-9].

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resolution of the litigation.”) (emphasis in original)). Here, resolution of the issue of Taishan’s

liability for Class Members’ damages predominates, as it is applicable to all Class Members. Id.

A class settlement will ensure that Eligible Class Members receive payments for their Claims

alleged to be caused by Covered Chinese Drywall.

       Plaintiffs satisfy the predominance requirement because liability questions common to all

Class Members substantially outweigh any possible issues that are individual to each Settlement

Class Member. The salient evidence necessary to establish Plaintiffs’ claims is common to both

the Class Representatives and all members of the Class – they would all seek to prove entitlement

to damages for Covered Chinese Drywall and that Taishan’s conduct was wrongful. Furthermore,

resolution of thousands of claims in one action is far superior to individual lawsuits, because it

promotes consistency and efficiency of adjudication. See Fed. R. Civ. P. 23(b)(3). In evaluating

the proposed Settlement, any difficulties regarding management of this Class need not be

considered. Amchem, 521 U.S. at 620; see also 2 William B. Rubenstein, Newberg on Class

Actions § 4:63 (5th ed. 2018) (“Courts . . . regularly certify settlement classes that might not have

been certifiable for trial purposes because of manageability concerns.”).

               6.      The Class Settlement is Superior.

       The superiority of proceeding as a Settlement Class is clear. Resolving the claims of all

class members in a single proceeding demonstrates the efficiency and benefits of the class

procedure. These qualities are plainly superior to binary litigation. See In re Oil Spill by the Oil

Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, 910 F. Supp. 2d 891, 928-29

(E.D. La. 2012) (“In re Deepwater Horizon”) (“The Class Structure enables the claims process

established by the Settlement to be administered under Court supervision, provides the due process

protections of Rule 23 to the class member Claimants, and enables the Court to enforce the



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Settlement terms and administrative procedures for the benefit of class members, without

necessitating new or individualized litigation.”), aff’d, 739 F.3d 790 (5th Cir. 2014), rehearing en

banc denied, 756 F.3d 320 (5th Cir. 2014), cert. denied, 135 S. Ct. 734 (2014). Further, the ability

to administer the litigation in the context of the Settlement Class is vastly more desirable than

confronting an uncertain future of costly litigation and the risks posed by efforts to enforce

judgments against a foreign corporation.

       D.        Rule 23(e)(2) and the Reed Factors Support Granting Final Approval
                 of the Settlement.

       Federal Rule of Civil Procedure 23(e)(2) requires that the district court determine a

proposed class settlement is fair, reasonable and adequate prior to granting approval of the

settlement. To that end, the United States Court of Appeals for the Fifth Circuit has articulated six

factors or “focal facets” that a court should consider when making that determination: (1) the

existence of fraud or collusion behind the settlements; (2) the complexity, expense, and likely

duration of the litigation; (3) the stage of the proceedings and the amount of discovery completed;

(4) the probability of plaintiffs’ success on the merits; (5) the range of possible recovery; and (6)

the opinions of the class counsel, class representatives, and the absent class members (the “Reed

Factors”). See Reed, 703 F.2d at 172 (adopting six-factor test cited in prior Fifth Circuit decisions

including Parker, 667 F.2d at 1209; Corrugated Container, 643 F.2d at 217; and Pettway, 576

F.2d at 1214).

       In 2018, Rule 23(e)(2) was amended to specify factors that a court should consider when

determining if a proposed settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2).

Specifically, a court should consider whether:

                 (A)   the class representatives and class counsel have adequately
                       represented the class;



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               (B)     the proposal was negotiated at arm’s length;

               (C)     the relief provided for the class is adequate, taking into
                       account:

                       (i)     the costs, risks, and delay of trial and appeal;

                       (ii)    the effectiveness of any proposed method of
                               distributing relief to the class, including the method
                               of processing class-member claims;

                       (iii)   the terms of any proposed award of attorney’s fees,
                               including timing of payment; and

                       (iv)    any agreement [made in connection with the
                               proposal, which is] required to be identified under
                               Rule 23(e)(3); and

               (D) the proposal treats class members equitably relative to each
                   other.

Acknowledging that many courts have considered various factors in assessing the fairness and

adequacy of proposed class settlements, the Advisory Committee Notes to the 2018 Amendments

to Rule 23(e) make clear that: “[t]he goal of this amendment is not to displace any factor, but rather

to focus the court and the lawyers on the core concerns of procedure and substance that should

guide the decision whether to approve the proposal.” See Hays v. Eaton Grp. Attorneys, LLC, 2019

WL 427331, at *8-9 (M.D. La. Feb. 4, 2019) (analyzing new Rule 23(e)(2) considerations along

with Reed factors); see also ODonnell v. Harris Cty., 2019 WL 4224040, at *8-9 (S.D. Tex. Sept.

5, 2019) (same).

       An analysis of these relevant factors overwhelmingly favors approval of the Settlement

before the Court.




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                   1.      The Class Representatives and Class Counsel Have Adequately
                           Represented the Class (Rule 23(e)(2)(A)).

           As discussed above, the Class Representatives and Settlement Class Counsel are highly

qualified to adequately represent the interests of the Settlement Class. The Class Representatives

are familiar with the Claims in this Litigation, they have closely followed the proceedings, they

have reviewed the Settlement, and they strongly support its approval as fair, reasonable, and

adequate.210 The three Amorin Class Representatives, in particular, have been intimately involved

in the litigation process for many years. Ms. Germano served as the named class representative in

the Germano action filed in the Eastern District of Virginia in 2009 before the MDL was

established. Mr. Griffin and Ms. Eyrich participated in individualized discovery, sat for their

depositions, and prepared for and participated in pretrial proceedings in this Litigation following

the remands.

           Further, Settlement Class Counsel aggressively pursued the Litigation on behalf of

Plaintiffs for over ten years. Among other things, they obtained defaults against Taishan and other

Defendants, they conducted several successful bellwether trials, they achieved nine class

settlements with hundreds of other Defendants, they pursued written discovery of Defendants and

third parties that generated millions of pages of documents, they took hundreds of depositions,

they engaged numerous experts, they achieved class certification and a Class Damages Order in

Amorin, and they aggressively litigated Claims in the remand courts on behalf of thousands of

Plaintiffs. Plainly, Settlement Class Counsel not only possess the experience with which to conduct

the Litigation and assess any potential global resolution, but having been so intimately involved

with the Litigation for such a long time, they were fully apprised of all the relevant facts necessary


210
      See Affidavits of Class Representatives (Exhibits “16” – “21” hereto).


                                                      55
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to meaningfully and intelligently negotiate a class resolution of Plaintiffs’ Claims.211 See generally

Adv. Committee Notes, 2018 Amendments to Rule 23(e)(2)(A), (B) (court should consider, in

part, “whether counsel negotiating on behalf of the class had an adequate information base”); see

also ODonnell, 2019 WL 4224040, at *9 (record showed “the class has been ably and diligently

represented, in a case filled with legal and factual complexities”).

           This consideration weighs in favor of finding that the Settlement is fair, reasonable and

adequate.

                   2.      The Proposal Was Negotiated at Arm’s Length (Rule
                           23(e)(2)(B)) and There is No Existence of Fraud or Collusion
                           Behind the Settlement (Reed Factor 1).

           The Settlement is the product of vigorous arm’s-length negotiations between Settlement

Class Counsel and Defendants. The Settlement was achieved through court-ordered mediation that

was conducted by an experienced mediator.212 See generally Adv. Committee Notes, 2018

Amendments to Rule 23(e)(2)(A), (B) (“[T]he involvement of a neutral or court-affiliated mediator

... may bear on whether [negotiations] were conducted in a manner that would protect and further

the class interests”). In late April 2019, the Parties began settlement discussions that involved

arm’s-length negotiations over several weeks to reach this Settlement.213 Under the guidance of

Mr. Freud, Settlement Class Counsel made a global demand of Taishan, and the Parties exchanged

detailed damages calculations and arguments in support of their respective positions, and made




211
      See Class Counsel Declaration.
212
   See Class Counsel Declaration, at ¶¶ 21-24; Rec. Doc. 22305-8; Order Referring to Magistrate Judge
(FLSD ECF No. 113), at ¶ 3; Notice of Mediation (FLSD ECF No. 235); Joint Report No. 110 of Plaintiffs’
and Defendants’ Liaison Counsel [Rec. Doc. 22224], at 35 (citing Notice of Mediation).
213
      Class Counsel Declaration, at ¶ 21.


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counter-offers and responded to the other side’s positions.214 In addition to Settlement Class

Counsel, other counsel with intimate knowledge of the litigation participated in and contributed to

the negotiations of the Settlement.215 Following these intense, hard-fought, in-person mediation

sessions, the Parties agreed to a Settlement Term Sheet on behalf of the Settlement Class.216

Thereafter, over the next three months, the Parties met in person and over the phone to negotiate

the terms of the final Settlement Agreement.217 Throughout this process, both sides vigorously

negotiated their respective positions on all material terms of the Settlement Agreement and the

negotiations were non-collusive.218 At all times, the Parties proceeded at arm’s length.219

            The law recognizes “a presumption that no fraud or collusion occurred between counsel,

in the absence of any evidence to the contrary.” Camp, 2004 WL 2149079 at *7; see also Murphy

Oil, 472 F. Supp. 2d at 846 (“[A] presumption exists that settlement negotiations were conducted

properly in the absence of collusion if the terms of the proposed settlement are demonstrably

fair.”). Certainly, there is no evidence of fraud or collusion in this matter. In fact, the lengthy record

of this hard-fought and contentious litigation illustrates the “zealous advocacy that all sides

deployed.” ODonnell, 2019 WL 4224040, at *9.

            Courts have held that where “the amount of the [attorneys’] fee is left entirely to the Court’s

discretion,” as is the case here, “the possibility of collusion among counsel” is “exponentially

decrease[d].” Murphy Oil, 472 F. Supp. 2d at 845. As this Court explained in Murphy Oil,




214
      Id.
215
      Id. at ¶ 22.
216
      Id. at ¶ 23.
217
      Id.
218
      Id. at ¶ 24.
219
      Id.

                                                      57
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“[b]ecause the parties have not agreed to an amount or even a range of attorneys’ fees, and have

placed the matter entirely into the Court’s hands for determination, there is no threat of the issue

explicitly tainting the fairness of settlement bargaining.” Id. (citing Bruce L. Hay, The Theory of

Fee Regulation in Class Action Settlements, 46 AM. U. L. REV. 1429, 1432 (1997) (“[P]roper

regulation of the counsel’s fee is both necessary, and within limits, sufficient to mediate the tension

between the goals of facilitating settlement and protecting the class against collusion.”)).

       For these reasons, this consideration weighs in favor of finding that the Settlement is fair,

reasonable and adequate.

               3.      The Relief Provided is Adequate, Taking Into Account the
                       Costs, Risks, and Delays of Trial and Appeals (Rule
                       23(e)(2)(C)(i)).

       A key concern in assessing the substantive terms of the Settlement “relate[s] to the cost

and risk involved in pursuing a litigated outcome.” Adv. Committee Notes, 2018 Amendments to

Rule 23(e)(2)(C), (D). In making that assessment, “courts may need to forecast the likely range of

classwide recoveries and the likelihood of obtaining such results.” Factors two through six of the

Reed Factors address these considerations.

       Settlement Class Counsel respectfully submit that all of the factors that illuminate the

significant costs, risks and likely delays of continued litigation and appeals support final approval

of the Settlement. As the court in In re Shell Oil Refinery, 155 F.R.D. 552, 560 (E.D. La. 1993)

pointed out:

               The Court should consider the vagaries of litigation and compare the
               significance of immediate recovery by way of the compromise to
               the mere possibility of relief in the future, after protracted and
               expensive litigation. In this respect, it has been held proper to take
               the bird in the hand instead of a prospective flock in the bush.




                                                  58
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Id. (quoting Oppenlander v. Standard Oil Co., 64 F.R.D. 597, 624 (D. Colo. 1974) (internal

quotations and alterations omitted)) (emphasis added).

                        a.      The Complexity, Expense, and Likely Duration of the
                                Litigation Weigh in Favor of Approval of the Settlement
                                (Reed Factor 2).

        “In most situations, unless the settlement is clearly inadequate, its acceptance and approval

are preferable to lengthy and expensive litigation with uncertain results.” See 4 Newberg on Class

Actions § 11.50 (4th ed.). “In assessing this factor, courts consider the uncertainties of litigation

and compare the settlement to potential future relief.” In re Oil Spill by Oil Rig Deepwater Horizon,

295 F.R.D. 112, 147 (E.D. La. 2013) (“In re Deepwater Horizon”) (citing Shell Oil Refinery, 155

F.R.D. at 563).

        Timing and delay are significant here because there is no question about the complexity

and expense of this Litigation. For more than ten years, the PSC has engaged in arduous efforts to

establish jurisdiction over Taishan and the Additional Released Parties.220 The PSC conducted

extensive discovery of Defendants and third parties and concluded several successful bellwether

trials in the MDL; they worked with experts on significantly complex scientific issues; and they

continued to fight for Plaintiffs in the remand courts. There can be no doubt that the PSC expended

significant resources vigorously prosecuting the Claims of thousands of Plaintiffs against Taishan

and the Additional Released Parties. And considerably more time would be needed to adjudicate

more than 1,200 Brooke claims, as there are no defaults in that action, no class has been certified,

and no discovery had been undertaken.



220
    Although jurisdiction over Taishan has been firmly established, the status of jurisdiction over BNBM,
BNBM Group, and CNBM is uncertain since there is an appeal of this Court’s Jurisdiction Order currently
in the Fifth Circuit. That appeal has been fully briefed, and oral argument has been scheduled for the week
of February 3, 2020. In re Chinese-Manufactured Drywall Prod. Liab. Litig., No. 18-30742 (5th Cir. Nov.
22, 2019), Doc. No. 00515211235.

                                                    59
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       The proposed Settlement provides much-needed cash payments now to Eligible Class

Members and avoids the costs and risks of continued litigation, especially considering the

substantial risks surrounding unresolved key issues such as Product ID and the validity of statutes

of limitations defenses, where early rulings highlighted the potential for a significant percentage

of the Class to end up with no recovery at all. Even for those who may recover, they likely would

wait years for any recovery while Defendants exhaust their appeals.

       For these reasons, this factor weighs heavily in favor of granting final approval to the

Settlement.

                       b.     The Stage of the Proceedings and the Amount of Discovery
                              Completed Support Approval of the Settlement (Reed
                              Factor 3).

       “This factor ‘asks whether the parties have obtained sufficient information to evaluate the

merits of the competing positions.’” See In re Deepwater Horizon, 295 F.R.D. at 148 (quoting In

re Educ. Testing Serv. Praxis Principles of Learning & Teaching, Grades 7-12 Litig., 447 F. Supp.

2d 612, 620 (E.D. La. 2006)). “‘Thus, the question is not whether the parties have completed a

particular amount of discovery, but whether the parties have obtained sufficient information about

the strengths and weaknesses of their respective cases to make a reasoned judgment about the

desirability of settling the case on the terms proposed . . . .’” Id. (quoting Educ. Testing, 447 F.

Supp. 2d at 620-21); see also DeHoyos v. Allstate Corp., 240 F.R.D. 269, 292 (W.D. Tex. 2007).

       The Chinese Drywall Litigation as a whole has proceeded for more than ten years with

substantial discovery, expert analysis, bellwether trials, and other settlements that have provided

insight into the strengths and potential vulnerabilities that Plaintiffs face. Indeed, Class Counsel

took hundreds of depositions of employees of Defendants and third parties; coordinated the

submission of thousands of profile forms detailing facts relevant to each Affected Property;



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developed experts on issues of corrosion, metallurgy, electrical engineering, power electronics,

electrical machinery, and failure analysis to demonstrate the devastating effects of having Chinese

Drywall installed in Plaintiffs’ homes, the proper scope of remediation, proper inspection

protocols, Chinese law, and damages for lost equity and the economic impact of Chinese Drywall

on real estate. Considering all of this information that was in the hands of Settlement Class

Counsel, it is clear that the “settlement was achieved in the full context of the adversarial process.”

Murphy Oil, 472 F. Supp. 2d at 846.

        This factor supports final approval of the Settlement.

                       c.      Plaintiffs’ Probability of Success on the Merits (Reed
                               Factor 4).

        In the absence of fraud or collusion behind the class settlement, “the probability of the

plaintiffs’ success on the merits has been held by the Fifth Circuit as the most important Reed

factor.” Murphy Oil, 472 F. Supp. 2d at 848 (citing Parker, 667 F.2d at 1209); DeHoyos, 240

F.R.D. at 287. In evaluating Plaintiffs’ “likelihood of success, the Court must compare the terms

of the settlement with the rewards the class would have been likely to receive following a

successful trial.” DeHoyos, 240 F.R.D. at 287 (citing Reed, 703 F.2d at 172). “At the same time, a

district court ‘must not try the case in the settlement hearings because the very purpose of the

compromise is to avoid the delay and expense of such a trial.’” See Slipchenko v. Brunel Energy,

Inc., 2015 WL 338358, at *15 (S.D. Tex. Jan. 23, 2015) (quoting Reed, 703 F.2d at 172 (quotations

and alterations omitted)); see also Murphy Oil, 472 F. Supp. 2d at 848 (citing Reed, 703 F.2d at

172).

        While Class Counsel believe strongly in the Class Members’ Claims, the outcome of the

Litigation and ability to collect on any judgment is not guaranteed. At a minimum, Defendants

would appeal any judgment and that would cause additional delays and expense. As noted above,

                                                  61
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there is a pending appeal in the Fifth Circuit regarding jurisdiction over BNBM, BNBM Group,

and CNBM.221 The Florida Special Master’s Report and Recommendation on Product ID

essentially “dismissed” more than half of the Florida Amorin claims. Plaintiffs timely filed an

Objection to this Report, which was pending before Judge Cooke at the time the Settlement was

reached, but the outcome was uncertain. And, this Court’s statute of limitations ruling makes the

viability of the Brooke Plaintiffs’ claims uncertain. For these and other reasons, there were

questions as to the enforceability of any award, the size of the award, and the parties to whom the

award would apply. These factors weigh in favor of settlement approval because “[c]ollectibility

of a judgment is also a factor bearing on the reasonableness of a settlement in relation to the

defendants’ ability to withstand a greater one.” 4 Newberg on Class Actions § 11.50 (4th ed.).

           Finally, the potential duration of litigating Class Member claims to conclusion is a

significant consideration. Even if members of the Class ultimately were to prevail on all issues at

trial, the recovery, if collected, would be delayed for years from now, and greatly “diminished by

the costs of litigation.” See In re Deepwater Horizon, 295 F.R.D. at 149.

           This factor weighs in favor of approving the Settlement.

                           d.     The Range of Possible Recovery (Reed Factor 5).

           “This factor requires the district court to ‘establish the range of possible damages that could

be recovered at trial and, then, by evaluating the likelihood of prevailing at trial and other relevant

factors, determine whether the settlement is pegged at a point in the range that is fair to the plaintiff

settlors.’” In re Heartland Payment Sys., Inc. Customer Data Sec. Breach Litig., 851 F. Supp. 2d

1040, 1067 (S.D. Tex. 2012) (quoting Maher, 714 F.2d at 460) (internal quotation marks and

citations omitted). “The court’s consideration of this factor ‘can take into account the challenges


221
      See In re Chinese-Manufactured Drywall Prod. Liab. Litig., No. 18-30742 (5th Cir.).

                                                     62
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to recovery at trial that could preclude the class from collecting altogether, or from only obtaining

a small amount.’” ODonnell, 2019 WL 4224040, at *12 (quoting Klein v. O’Neal, Inc., 705 F.

Supp. 2d 632, 656 (N.D. Tex. 2010)). The question is not whether the Plaintiffs have achieved the

maximum result but whether the settlement “‘fall[s] within a reasonable range of recovery, given

the likelihood of the plaintiffs’ success on the merits.’” Id. (internal quotation marks omitted).

       The potential recovery in this Litigation ranges from nothing for many Plaintiffs, should,

for instance, the Special Master’s Report and Recommendation on Product ID be upheld or should

Defendants win on their statute of limitations defense against the Brooke Plaintiffs, to anywhere

up to the maximum damages allowed under the Remediation Damages Formula, plus Other

Losses, minus additional expenses incurred. The $248,000,000 cash settlement amount is an

excellent result when considering the potential risks and certain delays of continued litigation and

appeals.

       In addition, settling these Claims means that Eligible Class Members will finally receive

much needed payments after nearly a decade of litigation based on the square footage of their

homes and the other factors identified by the Allocation Neutral.

       This factor weighs in favor of approving the Settlement.

                       e.      The Opinion of Class Counsel Supports Approval of
                               Settlement (Reed Factor 6).

       The Fifth Circuit has recognized that courts must rely to a large degree on the judgment of

competent counsel, terming such counsel the “linchpin” of an adequate settlement. Reed, 703 F.2d

at 175. Thus, if experienced counsel determine that a settlement is in the best interests of the class,

“the attorney’s views must be accorded great weight.” Pettway, 576 F.2d at 1216; 4 Newberg on

Class Actions § 11.47 (4th ed.) (“[T]he recommendation of counsel is entitled to great weight

following arm’s-length settlement negotiations”).

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           In this case, Settlement Class Counsel were appointed by the Court to represent the interests

of the Plaintiffs based on their high level of competency and many years of experience litigating

complex class action and multidistrict cases. These attorneys possess adequate information

concerning the strengths and weaknesses of the case after extensive discovery, bellwether trials

and significant briefing on relevant motions, and they strongly support the Settlement.222

           The fact that Class Counsel support the Settlement weighs in favor of its approval.

                  4.      The Relief Provided is Adequate, Taking Into Account the
                          Effectiveness of the Proposed Method of Distributing Relief to
                          the Class (Rule 23(e)(2)(C)(ii)).

           The Parties agreed to jointly recommend to the Court that an Allocation Neutral be

appointed to determine, subject to Court approval, the allocation criteria and method for equitably

distributing awards from the Settlement Fund among Eligible Class Members based on objective

factors including, but not limited to: Product ID; square footage; ownership status; remediation

status; and whether the claimant is an Amorin Plaintiff, Brooke Plaintiff or absent Class Member.

The Parties selected – and the Court appointed – Mr. Cal Mayo to serve as the Allocation Neutral

responsible for developing a fair, reasonable, and adequate Allocation Model.

           This Court found that the Allocation Neutral “appropriately performed his assigned

function.”223 The Allocation Model uses a methodology that assigns relative values to the objective

factors of square footage, Class Member status, Product ID, and prior payments received for

Chinese Drywall Claims, in order to calculate Allocation Amounts. Once all of the Affected

Properties are evaluated to determine whether any discounts should be applied to the Under Air




  Class Counsel Declaration, at ¶¶ 1, 6, 34; Levin Declaration (Exhibit “22” hereto), at ¶ 6; Herman
222

Declaration (Exhibit “23” hereto), at ¶ 8; Montoya Declaration (Exhibit “24” hereto), at ¶ 6; Serpe
Declaration (Exhibit “25” hereto), at ¶ 7.
223
      Preliminary Approval Order [Rec. Doc. 22314], at ¶ 6.

                                                     64
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Square Footage of the Property (for Product ID, prior payments, or Class Member Status), resulting

in an adjusted square footage for the Property, the aggregate adjusted square footage of all Affected

Properties in the Settlement will be divided into the total funds available for distribution to the

Class to determine the amount per square foot that will be awarded.224

           The fact that the Allocation Neutral developed an Allocation Model, which allocates and

distributes the Settlement Amount equitably among Eligible Class Members based on Objective

Criteria, supports approval of the Settlement. This is consistent with the approach utilized and

approved by the Fifth Circuit in the Deepwater Horizon Litigation. See In re Deepwater Horizon,

910 F. Supp. 2d at 918-20.225

                  5.      The Relief Provided is Adequate, Taking into Account the
                          Terms of Any Proposed Award of Attorneys’ Fees, Including
                          Timing of Payment (Rule 23(e)(2)(C)(iii)).

           Settlement Class Counsel filed a Fee Petition seeking an award of attorneys’ fees equal to

30% of the Settlement Fund for Common Benefit Counsel and Individually Retained Attorneys,

and expense reimbursements totaling 3% of the Settlement Fund.226 The Parties did not negotiate

a particular fee amount. The award of any attorney’s fee or reimbursement of any cost, including

the allocation between and amongst the Attorneys, shall be determined by the Court; and all


224
      Allocation Model [Rec. Doc. 22304-1], at 7.
225
   This approach was again utilized and explicitly approved by the District Court in connection with the
Halliburton/Transocean Class Settlement (see Order & Reasons, In re Deepwater Horizon, MDL No. 2179,
Rec. Doc. 22252, at 20-21 (E.D. La. Feb. 15, 2017)), and at least implicitly approved by the Fifth Circuit,
when certain aspects of the neutral’s Distribution Model were challenged (see In re Deepwater Horizon,
934 F.3d 434 (5th Cir. 2019)).
226
    The Settlement Agreement provides that Petitioning Attorneys shall be entitled to petition the MDL
Court for attorneys’ fees totaling in the aggregate up to 32% of the Settlement Funds, and reimbursement
of reasonable expenses, excluding the cost of notice. See Settlement Agreement [Rec. Doc. 22305-2], at §
16.1. Settlement Class Counsel have agreed to limit the combined fee and expense request to 33% of the
Settlement Fund, comprised of 30% in fees and the remaining 3% toward expenses, as set forth above. Fee
Petition [Rec. Doc. 22363].


                                                    65
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Attorneys agree that such determination is not appealable and hereby waive all appeals of any such

determination.227

           As indicated in Section III(D)(2), infra, the Parties did not negotiate any set attorneys’ fee

amount or even any range of fees. Rather, the attorneys’ fee issue is left entirely to the Court’s

discretion. This Court will thus determine an appropriate fee award and the timing of any payment

of fees.

                   6.      The Relief Provided is Adequate, Taking Into Account Any
                           Agreement Required to be Identified Under Rule 23(e)(3)
                           (Rule 23(e)(2)(C)(iv)).

           Under Rule 23(e)(3), the parties to a proposed class settlement “must file a statement

identifying any agreement made in connection with the proposal.” Fed. R. Civ. P. 23(e)(3). The

only agreement entered into by the Parties here is the Settlement Agreement. The Parties did not

enter into any side agreements, and the Settlement contains all terms agreed to by the Parties.228

Therefore, there are no additional agreements for the Court to consider.

                   7.      The Settlement Treats Class Members Equitably Relative to
                           Each Other (Rule 23(e)(2)(D)).

           The question raised by this consideration is “whether the apportionment of relief among

class members takes appropriate account of difference among their claims . . . .” Adv. Committee

Notes, 2018 Amendments to Rule 23(e)(2)(C), (D). As discussed at length above, the Parties

retained an Allocation Neutral to develop a method of allocating the Settlement Fund among all

members of the Settlement Class taking into consideration the relative strengths and weaknesses

of Plaintiffs’ Claims. The Allocation Neutral considered all objective factors and determined

which factors are relevant to a fair, reasonable, and adequate Allocation Model. Taking the


227
      Settlement Agreement [Rec. Doc. 22305-2], at § 16.1.
228
      Class Counsel Declaration, at ¶ 24.

                                                    66
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numerous relevant, objective considerations into account, the Allocation Model apportions the

relief in an equitable fashion among differently situated members of the Settlement Class.

           E.       Notice to the Class Complied with this Court’s Preliminary Approval
                    Order and Due Process.

           In conjunction with preliminary approval of the Settlement, this Court ordered that Notice

be disseminated to the Class. The Parties complied with the Court’s order. Notice was

disseminated via first-class mail, postage prepaid to the last known address of all known Class

Members and their counsel of record, if any.229 In addition, Settlement Class Counsel requested

that a copy of the Notice be posted at each courthouse and on all court dockets where CDW-

Related Actions are pending.230 The Notice was posted on this Court’s MDL Chinese Drywall

website and on the MDL docket, the Southern District of Florida’s website and dockets, and the

Eastern District of Virginia Court’s website and docket, as well as the Fifth Circuit website. The

Notice was also posted on the Settlement website established by Settlement Class Counsel

(ChineseDrywallSettlement.com).231 Kinsella Media implemented the Publication and Media

Notice Program as ordered by the Court.232

           The Notices that have been disseminated and published comply with Due Process and

support approval of the Settlement. Eisen v. Carlisle & Jacqueline, 417 U.S. 156, 173 (1974);

Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985); see also In re Nissan Motor Corp.

Antitrust Litig., 552 F.2d 1088, 1097 (5th Cir. 1977).




229
      See Woody Declaration, at ¶¶ 6-7; Class Counsel Declaration, at ¶ 26.
230
      See Class Counsel Declaration, at ¶ 27.
231
      See id. at ¶ 28.
232
      See Wheatman Declaration.


                                                      67
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          F.      The CAFA Notice Requirement Has Been Satisfied by Taishan.

          The Class Action Fairness Act, 28 U.S.C § 1711 et seq. (“CAFA”), requires settling

defendants to serve notice of a proposed settlement on the “appropriate” state and federal officials

after a proposed class action settlement is filed with the court. 28 U.S.C. § 1715(b). Taishan, in

conjunction with the Additional Released Parties, has satisfied this CAFA notice requirement.233

          G.      The Overwhelming Majority of the Class Supports the Settlement,
                  and the Minimal Objections that Were Submitted Are Without Merit.

          An overwhelming majority of the Class (more than 97%) supports the proposed Settlement

and have chosen to participate, which speaks volumes about the fairness, reasonableness, and

adequacy of the Settlement. At the time the Settlement was reached, there were 3,948 known Class

Members in this Litigation, which has been pending for more than ten years. Only 22 Class

Members (approximately ½ of 1% of the Class) submitted Objections.234 Attorney Jimmy Doyle,

who is not a Class Member, also submitted a purported objection “on behalf of all Plaintiffs

affected by the terms contained in the proposed Taishan Class Settlement,”235 and 4 other non-

Class Members with no standing to object (i.e., persons expressly excluded from the Class




233
   See Declaration of Christina Hull Eikhoff Regarding Notice of Proposed Settlement Pursuant to 28
U.S.C. § 1715, dated 12/4/2019 [Rec. Doc. 22387-1].
234
   See Notice of Filing of Objections [Rec. Doc. 22389]. Three Objections submitted by Class Members
represented by Jimmy Doyle are not signed by the Class Member, and include Mr. Doyle’s electronic
signature. See Objection of Dominesha Clay (“Clay Objection”) [Rec. Doc. 22379-4]; Objection of Gary
and Ina Helmick (“Helmick Objection” [Rec. Doc. 22379-2]; Objection of Stephen and Bonita Hemming
[Rec. Doc. 22379-3]. Class Counsel had received an Objection from Kevin and Amy Gray, but it was later
withdrawn during the Class Notice Period, and the Grays support the Settlement. Also, two Class Members
submitted a “statement” or a “letter” expressing dissatisfaction with the amount of money they expect to
receive from the Settlement (see Statement of Tina Ramsay [Rec. Doc. 22328]; Letter of Keith Morgan
[Rec. Doc. 22336-1]), but neither of these Class Members submitted a formal Objection to the Settlement.
235
      See Objection of Jimmy Doyle (“Doyle Objection”) [Rec. Docs. 22378 and 22389-27].


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definition or Plaintiffs who excluded themselves from the Class) also submitted purported

objections.236

       The Objections focus principally on: (i) the particular individual recoveries allocated to

certain Class Members based on Objective Criteria; and (ii) the fact there will be less than 100%

recovery for all Claims. But those factors are present in any class settlement, which by its nature,

seeks to compromise claims on an aggregate basis. The recoveries obtained for all Class Members

are fair, reasonable and adequate, under the specific circumstances presented here. None of the

Objections or purported objections presents a reasonable justification for delaying or denying final

approval of the Settlement, and there is no reason (legal or otherwise) to impede the prompt

distribution of much-needed Settlement Funds to Eligible Class Members, who have waited more

than a decade to receive payments they deserve.

       These Objections do not raise the types of concerns that have undermined other class

settlements. None of the Objections raises any serious question as to the integrity, loyalty, or

adequacy of the PSC or Class Counsel. No Objection raises a Due Process concern. No one has

challenged the certification process and no one has articulated any credible objection to Class

Notice. Likewise, there has been no credible allegation – and no evidence whatsoever – of any

collusion or defect in the settlement process. Moreover, there has been no suggestion – nor could

there be – that continued litigation against Taishan and the Additional Released Parties – all foreign

Chinese companies – would be preferable to the Settlement before the Court, which is supported

by almost all Class Members. At a minimum, continued prosecution of decade-old claims would




236
   See Purported Objection of Michael Guerriero (“Guerriero Objection”) [Rec. Doc. 22389-24]; Purported
Objection of Mary Escudie (“Escudie Objection”) [Rec. Doc. 22389-23]; Purported Objection of Pamela
Rigsby and Irene Page (“Rigsby Objection”) [Rec. Docs. 22379-5 and 22389-25]; Purported Objection of
Patricia Gottlieb (“Patricia Gottlieb”) [Rec. Doc. 22389-26].

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significantly delay recovery for Plaintiffs and would invite numerous appeals regardless of the

result. Continued litigation provides no guarantee of any relief to the thousands of Chinese Drywall

claimants who have chosen to participate in the Settlement. Further, without this Settlement,

Plaintiffs would face difficulties in collecting on any judgments. For these reasons, all Objections

and purported objections should be overruled.

               1.      The Settlement Provides Eligible Class Members with
                       Immediate Cash Benefits that Are Fair and Adequate Under
                       the Circumstances.

       The Settlement resolves a hard-fought and lengthy dispute that was likely to continue on a

difficult road for some time. Over more than ten years, foreign Defendants challenged jurisdiction

at every step along the way.237 Moreover, Taishan and the Additional Released Parties have

asserted a panoply of defenses to liability and damages (all of which would create appellate issues),

including: statutes of limitations in Brooke; class certification in Amorin; aggregate damages

calculations (remediation formula damages); defaults against BNBM, BNBM Group, and CNBM

in all cases (and defectiveness of BNBM products absent default status); Product ID attribution in

a majority of the actions; sufficiency of indicia of Product ID in most cases; the rights of former

owners to collect remediation damages; the impact of “partial remediation”; the quantum of

remediation damages in all cases; responsibility for Plaintiffs’ Other Losses; the standing of

condominium associations and non-profit organizations like Habitat for Humanity to bring actions

against Defendants, etc. Without question, regardless of the outcome of any trials in Florida or

elsewhere, the Parties would certainly appeal the judgments or verdicts, which would cause further

delays in recovery and require the expenditure of additional sums. Further, even if Plaintiffs were




237
   Indeed, the jurisdictional appeal of BNBM, BNBM Group, and CNBM has been fully briefed and will
be heard in the Fifth Circuit during the week of February 3, 2020. See note 220, supra.

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successful, there would be significant challenges to collecting on any judgment or verdict. In that

daunting context, the Parties have reasonably entered into a compromise of their many disputes.

           The argument of some Objectors that the estimated Allocation Amounts will not satisfy

100% of their losses provides no basis to challenge the Settlement.238 None of the Objectors

challenge the overall fairness or adequacy of the Settlement, which will provide $248 million in

cash benefits to Class Members.239 Instead, these Class Members complain, for example, that the

Allocation Amount may be inadequate to completely remediate their Affected Property,240 or

compensate for certain damages such as loss of use and enjoyment,241 repair costs to an HVAC

system,242 or alternative living or relocation costs.243 One Objector challenges Plaintiffs’

Allocation Amount specifically because it is less than her award from the GBI settlement that was



238
   See Clay Objection [Rec. Doc. 22379-4]; Objection of Frederick Yorsch (“Yorsch Objection”) [Rec.
Doc. 22389-11], at page 2 of 13; Objection of Theodore and Cynthia Tarver (“Tarver Objection”) [Rec.
Doc. 22389-13], at pages 3-4 of 22; Objection of Robert Bishop (“Bishop Objection”) [Rec. Doc. 22389-
15], at pages 1-2; Objection of John Prestridge (“Prestridge Objection”) [Rec. Doc. 22389-16], at pages 3-
4 of 22; Objection of Matthew Harper (“Harper Objection”) [Rec. Doc. 22389-17], at pages 3-4 of 21;
Objection of Kent and Lindsey Archer (“Archer Objection”) [Rec. Doc. 22389-18], at pages 3-5 of 22;
Objection of Robert Brasher (“Brasher Objection”) [Rec. Doc. 22389-20], at pages 3-5 of 22; Objection of
Chris Cummins (“Cummins Objection”) [Rec. Doc. 22389-14], at pages 3-4 of 22; Objection of Timothy
and Sebrina Hall (“Hall Objection”) [Rec. Doc. 22389-19], at pages 3-5 of 22; Objection of Robert and
Debbie Hayes (“Hayes Objection”) [Rec. Doc. 22389-21], at page 3 of 13; and Objection of James T.
Zimmerman (“Zimmerman Objection”) [Rec. Doc. 22389-22], at page 2 of 3.
239
  Subject to Court approval, certain fees and costs will be deducted from the Settlement Fund. Settlement
Agreement [Rec. Doc. 22305-2], at §§ 4.1.1, 8.2.1, 16.1, 16.2.
240
   See Objection of Alisa Roundtree (“Roundtree Objection”) [Rec. Doc. 22389-1], at page 3 of 21;
Objection of Russell Moody (“Moody Objection”) [Rec. Doc. 22389-10], at page 20 of 185; Objection of
Dailyn Martinez (“Martinez Objection”) [Rec. Doc. 22389-5], at pages 3-4 of 15; Hayes Objection [Rec.
Doc. 22389-21], at page 3 of 13; Zimmerman Objection [Rec. Doc. 22389-22], at page 2 of 3.
241
      See Roundtree Objection [Rec. Doc. 22389-1], at page 3 of 21.
242
   See Tarver Objection [Rec. Doc. 22389-13], at page 4 of 22; Harper Objection [Rec. Doc. 22389-17], at
page 5 of 21; Archer Objection [Rec. Doc. 22389-18], at page 5 of 22; Brasher Objection [Rec. Doc. 22389-
20], at page 5 of 22.
  See Objection of Penny Alexander (“Alexander Objection”) [Rec. Doc. 22389-2], at page 3 of 17; Harper
243

Objection [Rec. Doc. 22389-17], at page 4 of 21.


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reduced pro-rata.244 One Objection suggests that attorneys’ fees should not be deducted from

Plaintiffs’ awards under the Settlement.245 And, several Objectors complain that the Settlement

does not compensate for personal or bodily injuries.246

           While such particularized complaints might motivate an individual to opt out, they do not

provide a basis for undoing what is in the best interest of the other 97 percent of the Class. See In

re Deepwater Horizon, 910 F. Supp. 2d at 938 (“For those few objectors unhappy with the

Settlement, their remedy was simple: opt out. The ‘court will not dismantle this settlement for the

sake of one class member’s unique demands, particularly when the class member . . . had the right

(and the means) to opt out and pursue its individual claims without disturbing the settlement for

the rest of the class.’”). Courts have repeatedly recognized, no settlement ever provides 100%

relief to Plaintiffs. See Salinas v. Roadway Express, Inc., 802 F.2d 787, 790 (5th Cir. 1986)

(recognizing that no settlement can “satisfy every class member’s desires” and affirming lower

court’s approval of consent decree, despite objections from “thirty-four percent of the known class

members”); DeHoyos, 240 F.R.D. at 275 (“[N]o settlement can attain perfection precluding

objections.”). After all, every settlement entails some compromise and a class settlement of this

complexity needs only to meet the fair, reasonable and adequate standard for the class as a whole,

not for any one unique class member.

           Indeed, the fundamental and inherent quality of any settlement is the notion of

“compromise.” In re Deepwater Horizon, 910 F. Supp. 2d at 941 (“Settlements are compromises,

and the fact that some class members wish BP had paid more compensation is no reason to reject


244
      See Objection of Lori Staton [Rec. Doc. 22389-3], at pages 2-3 of 17.
245
      See Objection of Kenneth Randall and Alicia Doherty (“Doherty Objection”) [Rec. Doc. 22379-1], at 2-
3.
246
   Harper Objection [Rec. Doc. 22389-17], at page 5 of 21; Tarver [Rec. Doc. 22389-13], at page 4 of 22;
Clay [Rec. Doc. 22379-4].

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the Settlement.”); see also Cotton, 559 F.2d at 1330 (“[C]ompromise is the essence of a

settlement”); In re Corrugated Container Antitrust Litig., 659 F.2d 1322, 1325 (5th Cir. 1981) (“A

just result is often no more than an arbitrary point between competing notions of reasonableness.”);

Bennett, 737 F.2d at 986 (“[O]ur judgment is informed by the strong judicial policy favoring

settlement as well as by the realization that compromise is the essence of settlement.”). What this

means is that not everyone’s needs will be completely met – each side must give and take. There

is no requirement that Class Counsel “obtain the largest conceivable recovery for the class.” Klein,

705 F. Supp. 2d at 649. Rather, “to be worthy of approval,” a settlement “must simply be fair and

adequate considering all the relevant circumstances.” Id. Still, there is no serious question here

that Class Counsel worked hard for many years to attempt to obtain the maximum possible total

recovery for the class.

       Strong judicial policy favors pretrial settlement of complex class action lawsuits. See, e.g.,

Smith v. Crystian, 91 Fed. Appx. 952, 955 (5th Cir. 2004); Maher, 714 F.2d at 455; Cotton, 559

F.2d at 1331; Murphy Oil, 472 F. Supp. 2d at 843; Braud, 2010 WL 3283398, at *3; 4 Newberg

on Class Actions § 11.41 (4th ed.). In this case, the Class Settlement was achieved through

extensive, hard-fought, arm’s-length negotiations among highly-experienced, competent and well-

informed counsel. Settlement Class Counsel were guided by their desire to obtain the best result

they could for the thousands of Plaintiffs awaiting relief for their losses caused by Chinese

Drywall. The fact that an extremely small percentage of the Class (approximately ½ of 1%)

objected to the Settlement on grounds that do not attack the overall fairness of the Settlement, is

no reason to deny or delay final approval. In re Deepwater Horizon, 295 F.R.D. at 152 (“Where a

few individuals complain about this or that term of a settlement, their objections serve only to

delay and frustrate the interests of the majority of class members in receiving settlement benefits



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as expeditiously as possible.”).

       Moreover, the fact that Class Members will not be made whole is likewise an insufficient

basis for defeating settlement approval. See Educ. Testing, 447 F. Supp. 2d at 626 (overruling

objections containing “wildly optimistic suggestions of upper-end recoveries that, given the

significant legal hurdles ahead, were at the bottom end of the probability scale.”); Fla. Trailer &

Equip. Co. v. Deal, 284 F.2d 567, 573 (5th Cir. 1960) (Class Counsel need only establish that “it

is prudent to eliminate the risks of litigation to achieve specific certainty, though admittedly it

might be considerably less (or more) than were the case fought to the bitter end.”); Cotton, 559

F.2d at 1334 (upholding class settlement as “proper and constructive” and holding that “[n]either

side received all which it desired. Such is the nature of a compromise.”); Raines v. Florida, 987 F.

Supp. 1416, 1419 (N.D. Fla. 1997) (“That these claims are lost in the settlement is insufficient

reason to find the settlement to be unfair. Settlement is a process of compromise.”); Murphy Oil,

472 F. Supp. 2d at 873 & n.5 (approving settlement that released all personal injury claims,

including past and future medical expenses); In re Deepwater Horizon, 295 F.R.D. at 158 (“It is

well established that parties can settle claims without providing compensation for every alleged

injury.”) (citing Maher, 714 F.2d at 438 and Berardinelli v. Gen. Am. Life Ins. Co., 357 F.3d 800,

805 (8th Cir. 2004)).

       A handful of complaints about not receiving 100% satisfaction is not a reason to deny

reasonable recovery to the thousands of Class Members who have accepted the Settlement after a

decade of litigation and are deserving of final settlement approval and prompt payment of much-

needed funds.

                2.      The Allocation Model Developed by the Allocation Neutral
                        Treats Class Members Equitably and Is Fair and Reasonable.

       Objections about the distribution of the Settlement Funds is also not a reason to upend this


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Settlement. The Court should reject the challenges to the methodology developed by the

independent Allocation Neutral for allocating available Settlement Funds among Eligible Class

Members, as set forth in the Allocation Model. Some Objectors contend, for example, that the

discounts for certain Product ID buckets is unreasonable and/or unacceptable,247 and the discount

for Brooke Plaintiffs is too steep.248 At least one Objector disputes the offset for payments received

under prior Chinese Drywall settlements.249 Another Objector summarily complains about the

division of his Allocation Amount with a Competing Claimant on the basis that he is entitled to

100% of the property’s Allocation Amount.250

           First – and contrary to the implication of those Objections – there is no one, single,

“correct” way to internally allocate and distribute the available settlement proceeds among Eligible

Class Members. There are, rather, a panoply of potential distribution models, each of which could


247
   See Roundtree Objection [Rec. Doc. 22389-1], at pages 4-5 of 21; Doherty Objection [Rec. Doc. 22379-
1], at 1-2; Moody Objection [Rec. Doc. 22389-10], at pages 3-11 of 185. Mr. Moody objects on 10 different
grounds. Although Class Counsel believe most of Mr. Moody’s complaints emanate from his dispute with
respect to the specific Product ID discount for his property (80% for ProWall), his objections are
ambiguous, vague, and in some cases unintelligible, and thus waived. See Murphy Oil, 472 F. Supp. 2d at
853 (objection “must be sufficiently clear and unambiguous for court consideration, or otherwise the party
will be deemed to have waived their objection.”).
248
   See Roundtree Objection [Rec. Doc. 22389-1], at page 4 of 21; Objection of Charles Caulkins (“Caulkins
Objection”) [Rec. Doc. 22389-4], at pages 3-4 of 15; Helmick Objection [Rec. Doc. 22379-2]; Hemming
Objection [Rec. Doc. 22379-3]; Cummins Objection [Rec. Doc. 22389-14], at pages 4-5 of 22; Bishop
Objection [Rec. Doc. 22389-15], at pages 4-5 of 22; Archer Objection [Rec. Doc. 22389-18], at pages 4-5
of 22; Hall Objection [Rec. Doc. 22389-19], at pages 4-5 of 22; Brasher Objection [Rec. Doc. 22389-20],
at pages 4-5 of 22.
249
      See Doherty Objection [Rec. Doc. 22379-1], at 2.
250
    See Objection of Van Foster for Good Ole Boyz, LLC (“Foster Objection”) [Rec. Doc. 22389-12], at
pages 3-4 of 18. Under the terms of the Settlement Agreement, there “will be only one Allocation Amount
per Affected Property.” Settlement Agreement [Rec. Doc. 22305-2], at § 6.2. Therefore, in cases where
there are competing claims with respect to the same Affected Property, Class Members were required to
“submit to the Claims Administrator documentation to support the allocation of the Allocation Amount for
the property within 35 days of the Preliminary Approval Order,” id. at § 12.1.2, and they were so advised
in their Estimate Letter provided by BrownGreer, see Woody Declaration, at ¶ 5 & Exhibit B thereto. Mr.
Foster failed to submit any documentation to the Claims Administrator, as required, to support his
Allocation Amount, yet now contends he is entitled to the entirety of the settlement proceeds for his
Affected Property. For this reason, Mr. Foster’s Objection should be denied.

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be reasonable, equitable, and fair.

          Secondly, it is in the common and collective interest of the Settlement Class as a whole to

develop and utilize an Allocation Model, as achieved by the Allocation Neutral, that can be

implemented and administered in a relatively cost-effective, simple, fair, and efficient manner to

conserve administrative expenses and precious resources, and thereby maximize the total and

collective distribution of benefits to the Class as a whole.

          Specifically, the Court should reject attempts to attack the lines drawn by the Allocation

Neutral among Class Members based on their status as an Amorin Plaintiff, a Brooke Plaintiff, or

a New (absent) Class Member, the strength of their Product ID evidence, and the associated values

that were assigned. Of course, class actions, and all legal mechanisms and procedures, depend

upon line-drawing, deadlines, and other practical and/or legal limitations as to which all interested

parties are on notice. Complex case management depends upon line-drawing, as do ascertainable

classes, and fair class action settlements.

          The legal importance and necessity of reasonably drawn categories are illustrated in other

recent class settlements, such as Deepwater Horizon251 and Murphy Oil, 234 F.R.D. 597. The

necessity and efficacy of categorizing classes into discrete groups (without the designation of

formal sub-classes) has also been acknowledged and approved. See, e.g., Veal v. Crown Auto

Dealerships, Inc., 2007 WL 2700969, at *1 (M.D. Fla. Sept. 13, 2007) (complex class divided into

three groups based on circumstances of purchase transactions, without designation of subclasses).

          Here, the reasonableness of the line-drawing in this particular Settlement emerges from the

entry of defaults in Amorin, lengthy and intensive discovery and litigation process, by the ongoing

verification and assessment of claims on the Master Spreadsheet, the exhaustive Product ID


251
      In re Deepwater Horizon, 910 F.Supp.2d 891.

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proceedings before the Special Master in Florida, the lack of default entries in Brooke, and the

review of all relevant and available documents and materials by a knowledgeable and disinterested

Neutral appointed by the Court.

       A virtue and value of the Settlement is that it does not arbitrarily or automatically assign a

set damages figure that is the same for each class member (e.g., it is not a pro rata allocation from

a delimited fund) or ignore differences in the strength of proof, potentially viable defenses, and/or

the degree of demonstrable damage. Virtually every class settlement is subject to an argument that

some class members should have fared better vis-à-vis other class members. But the test is not

whether the settlement is perfect in the estimation of each and every class member – a test no

settlement could pass. Rather, the test is whether the allocations are “reasonable.” See, e.g.,

Lawnmower Engine Horsepower Mktg. & Sales Practices Litig., 733 F. Supp. 2d 997, 1011 (E.D.

Wis. 2010); In re Metlife Demutualization Litig., 689 F. Supp. 2d 297, 350 (E.D.N.Y. 2010); In re

Cendant Corp. Sec. Litig., 109 F. Supp. 2d 235, 252 (D.N.J. 2000); Newby v. Enron Corp., 2008

WL 4178151, at *5 (S.D. Tex. Sept. 8, 2008); Thacker v. Chesapeake Appalachia, LLC, 695 F.

Supp. 2d 521, 533 (E.D. Ky. 2010).

       It would be both “unfair” and “unreasonable” to compensate everyone within the

Settlement Class exactly the same. And, it is both reasonable and fair that Class Members with

more difficult or less valuable cases would generally be provided with less favorable relief. The

Allocation Neutral took all of this into consideration and made distinctions that are “rationally

related to the relative strengths and merits of similarly situated claims.” Deepwater Horizon II,

739 F.3d at 814.

       In the few cases at or near the edges, if a plaintiff feels that the settlement is inadequate,

Rule 23 gives that person the right to opt out and continue to litigate to try to achieve a better



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result. See, e.g., In re Deepwater Horizon, 910 F. Supp. 2d at 938 (holding that for “objectors

unhappy with the Settlement, their remedy was simple: opt out”); Charron v. Pinnacle Grp. NY

LLC, 2012 WL 2053530, at *28 (S.D.N.Y. June 6, 2012) (“Class Members who wished to pursue

[certain] claims and who preferred to go for every last dollar, had ample opportunity to opt out of

the Class”).

       Essentially, the Objectors want the Court to reject the Class Settlement because particular

settlement valuation calculations will be made for the Settlement Class Members. But the Fifth

Circuit and other courts have repeatedly rejected that argument in the class certification and

settlement approval context. For example, in the settlement affirmed in In re Dell Inc., 2010 WL

2371834, at *3 (W.D. Tex. June 11, 2010), aff’d, appeal dismissed sub nom. Union Asset Mgmt.

Holding A.G. v. Dell, Inc., 669 F.3d 632 (5th Cir. 2012), cert. denied, 568 U.S. 931 (2012), the

objection that the settlement would “essentially require a mini-trial to determine whether each

potential class member was damaged” was rejected, as the fact that claims may require

individualized analysis is not fatal to commonality, and does not preclude approval. And the

Eleventh Circuit has observed that “numerous courts have recognized that the presence of

individualized damages issues does not prevent a finding that the common issues in the case

predominate.” Allapattah Services v. Exxon Corp., 333 F.3d 1248, 1261 (11th Cir. 2003); accord

Stearns v. Ticketmaster Corp., 655 F.3d 1013, 1026 (9th Cir. 2011); In re Ins. Brokerage Antitrust

Litig., 579 F.3d 241, 273 (3d Cir. 2009) (upholding district court’s determination that settlement

was fair, reasonable and adequate, where plan of allocation was “carefully devised to ensure a fair

distribution of the settlement fund to the various types of claimants.”); Petrovic v. Amoco Oil Co.,

200 F.3d 1140, 1146 (8th Cir. 1999) (“a settlement which contains class members who may recover

different amounts is acceptable”); In re Cendant Corp. Sec. Litig., 109 F. Supp. 2d 235, 252 (D.N.J.



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2000) (“[A]a settlement which contains class members who may recover different amounts is

acceptable.”), aff’d sub nom. In re Cendant Corp. Litig., 264 F.3d 201 (3d Cir. 2001).

          In addition, the identification of objective, merits-based criteria – and the publication of

the Allocation Model, the Master Spreadsheet, and the revised Master Spreadsheet, and the

provision of individual Estimates to each known Class Member on the Master Spreadsheet – easily

distinguishes this case from In re Katrina Canal Breaches,252 where the proposed settlement

sought to simply put off the difficult question of equitable distribution until post-approval, by a

special master, without providing the Class Members (or the Court) with advance clarity as to how

fairness would be achieved. See Deepwater Horizon II, 739 F.3d at 814.

          Moreover, this Class Settlement Allocation Model was developed similar to the Seafood

Program Distribution Model in the BP Economic and Property Damages Settlement,253 as well as

the Allocation between the Old Class and the New Class, and the New Class internal Distribution

Model in connection with the Halliburton and Transocean Settlement254 – both of which were

approved by the U.S. Fifth Circuit. As in those settlements, the Allocation Model here is fair and

reasonable to the Class as a whole. It is both fair and reasonable that Class Members with more



252
    In re Katrina Canal Breaches Litig., 628 F.3d 185, 194 (5th Cir. 2010) (holding that district court
improperly approved a class settlement that sought simply to “punt[ ] the difficult question of equitable
distribution from the court to the special master, without providing any more clarity as to how fairness will
be achieved”).
253
      See In re Deepwater Horizon, 910 F. Supp. 2d at 918-20.
254
   Order & Reasons, In re Deepwater Horizon, MDL No. 2179, Rec. Doc. 22252, at 20-21 (E.D. La. Feb.
15, 2017) (“[T]the proposed New Class consists exclusively of individuals and businesses that have already
suffered loss and have potential standing to claim punitive damages. The New Class settlement compensates
class members for punitive damages through detailed, objective distribution criteria. . . . All class members
are protected by a specific, detailed, and objective framework that was developed and promulgated publicly
by the Claims Administrator. The differences within the framework are rationally related to the relative
strengths and merits of similarly situated claims”), aff’d, In re Deepwater Horizon, 934 F.3d 434 (affirming
Distribution Model developed by Court-appointed Neutral under Halliburton/Transocean Class
Settlements).


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difficult and/or less valuable cases would generally be provided with less favorable relief. Indeed,

it would be both “unfair” and “unreasonable” to compensate everyone within the Settlement Class

exactly the same. The choice by over 97% of the Class Members to accept the Allocation Model,

after receiving individualized estimates of their gross recoveries, strongly supports this Settlement

as fair and reasonable in all of the following allocation criteria.

                            a.   Product Identification Discounts255

          In developing the Allocation Model, Mr. Mayo reviewed various court orders and related

legal authorities, as well as numerous other materials as set forth in Exhibit 1 to the Allocation

Model.256 A significant, watershed ruling in this Litigation is the Florida Special Master Product

ID Report and Recommendation.257 In accordance with this Court’s orders and Judge Cooke’s

Florida Amorin Trial Plan Order, Defendants were permitted to challenge each category (or

“Bucket”) of Chinese Drywall that Plaintiffs attributed to Taishan and/or BNBM. Defendants

admitted to manufacturing drywall in Buckets (A) BNBM or Dragon Brand; (E) DUN; (H) TAIAN

TAISHAN and Taihe edge tape; and (K) Venture Supply. They admitted to manufacturing some,

but not all, of the marking variations in Buckets (D) Crescent City Gypsum; (I) MADE IN CHINA

MEET[S]         OR      EXCEED[S];      and    (J)        “Drywall”   with   dimensions,     including

4feet[x/*]12feet[x/*]1/2inch. Further, Defendants denied manufacturing drywall in Buckets (B)

C&K; (C) Chinese Manufacturer #2 (purple stamp); (F) IMT Gypsum; (G) ProWall; and (L) White

Edge Tape, boards with no markings or boards with no markings other than numbers or letters.258


255
   See Roundtree Objection [Rec. Doc. 22389-1], at pages 4-5 of 21; Moody Objection [Rec. Doc. 22389-
10].
256
   See Mayo Declaration (Exhibit “11” hereto); Allocation Model [Rec. Doc. 22304-1], at 2 & Exhibit 1 to
the Allocation Model.
257
      Product ID R&R.
258
      Rec. Doc. 22152-12.

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          The Parties engaged in Product ID discovery and presented multiple briefs with evidentiary

support and then several days of oral argument to Special Master Tiffani Lee. Despite Class

Counsel’s zealous advocacy in support of Plaintiffs’ Product ID contentions, the Special Master

concluded there was insufficient evidence that Defendants manufactured the products they denied

manufacturing, except for one marking for which Plaintiffs had direct evidence it was

manufactured by Taishan.259 Plaintiffs’ Objections to the Special Master’s Product ID R&R were

pending but unresolved at the time the Settlement was reached. If the Special Master’s ruling had

been upheld by Judge Cooke, more than half of the Florida Amorin Plaintiffs (and likely similarly

situated Amorin Plaintiffs in other jurisdictions and similarly situated Brooke Plaintiffs) would

have recovered nothing. These vigorously contested Product ID battles would have continued in

other remand Courts, and could have led to even further motion practice, discovery, trials, and

appeals.

          Under these circumstances, it cannot be said that the Allocation Neutral’s discounts for

Product ID are unreasonable. On the contrary, the Allocation Model fairly, reasonably, and

equitably distributes the Settlement Fund among Class Members according to the strength of their

Product ID proof.

                          b.      Brooke Discount260

          Significant differences between the Amorin Plaintiffs’ situation and the posture of the

Brooke actions justify the differential treatment of those two groups. First, the Brooke Complaints



259
      See Product ID R&R, at 5-7 and Plaintiffs’ Objections to and Appeal from Product ID R&R, at 16-20.
260
   See Roundtree Objection [Rec. Doc. 22389-1], at page 4 of 21; See Caulkins Objection [Rec. Doc.
22389-4], at pages 3-4 of 15; Helmick Objection [Rec. Doc. 22379-2]; Hemming Objection [Rec. Doc.
22379-3]; Cummins Objection [Rec. Doc. 22389-14], at pages 4-5 of 22; Bishop Objection [Rec. Doc.
22389-15], at pages 4-5 of 22; Archer Objection [Rec. Doc. 22389-18], at pages 4-5 of 22; Hall Objection
[Rec. Doc. 22389-19], at pages 4-5 of 22; Brasher Objection [Rec. Doc. 22389-20], at pages 4-5 of 22.

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were not filed until September 2015, after Taishan returned to the Litigation and BNBM, BNBM

Group, and CNBM entered their appearances in the MDL. There are no defaults in Brooke, there

have not been any responsive pleadings filed, and a class has not been certified. Further, BNBM

moved to dismiss the Brooke Complaints (and CNBM filed a joinder), and this Court granted that

motion, in part, by dismissing certain causes of action and ruling on BNBM’s statute of limitations

defense that most claimants cannot rely on cross-jurisdictional tolling to save their Claims. All

other issues in the Brooke actions are yet to be litigated, including individual determinations

regarding application of the respective statutes of limitations and statutes of repose.

       In other words, the Brooke actions have significant countervailing considerations such as

the uncertainty of the legal viability of these claims and the early stages of the litigation. The

Allocation Neutral took these factors into consideration in arriving at the discount assigned to the

Brooke Plaintiffs’ claims. None of the Objections as to the Brooke discount have any merit as they

do not challenge the overall fairness or adequacy of the Settlement.

               3.      Class Notice Satisfied Due Process.

       One Objector (Amorin Plaintiff Russell Moody) suggests on behalf of all absent Class

Members that there are “serious doubts” that media outreach was sufficient in this case, but he

does not challenge the breadth of the notice program or the substance of the Class Notice.261 His

statement raises the issue, but provides no evidence or support, and, for this reason alone, is without

merit. See DeHoyos, 240 F.R.D. at 293 (“General objections without factual or legal substantiation

do not carry weight.”). And on the substance, the notice program crafted by media experts at

Kinsella Media (specializing in class notice issues and processes) was implemented in accordance



  Moody Objection [Rec. Doc. 22389-10], at page 11 of 185 (“There are serious doubts that the Settlement
261

Agreement’s terms and conditions for media outreach, as defined on pages 24 and 25 have been met.”).


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with the Preliminary Approval Order, and it satisfies Rule 23 and Due Process.262 Therefore, this

Objection should be denied.

                  4.      The Objectors Have Failed to Meet the Heavy Burden of
                          Demonstrating that the Settlement Is Unreasonable.

          Although objections are certainly permitted in class action settlements, it is not easy for

those objections to succeed in preventing a fair, reasonable and adequate class settlement. Special

protections are afforded to “class members whose interests may be compromised in the settlement

process[,] . . . includ[ing] notice . . . and an opportunity to voice objections to the settlement.”

Pettway, 576 F.2d at 1169; Cotton, 559 F.2d at 1331. Rule 23(e) grants any Class Member who

has not opted out of a class settlement the opportunity to object provided he or she “compl[ies]

with procedural requirements stipulated in the settlement agreement, such as filing a written

statement of objection with the court in advance of the hearing and giving notice of intent to appear

at the fairness hearing.” Murphy Oil, 472 F. Supp. 2d at 853. The objection “must be sufficiently

clear and unambiguous for court consideration, or otherwise the party will be deemed to have

waived their objection.” Id.; see also In re Educ. Testing Serv. Praxis Principles of Learning &

Teaching Grades 7-12 Litig., 555 F. Supp. 2d 661, 671 (E.D. La. 2007), aff’d sub nom, Kochensky

v. Educ. Testing Servs. Inc., 278 Fed. Appx. 400 (5th Cir. 2008) (untimely objections filed after

the expiration of the objection deadline not considered).

          Thereafter, it is the responsibility of the court, as a fiduciary to the class, to carefully

examine all objections to a class settlement in conjunction with its assessment of the fairness and

adequacy of the settlement. Pettway, 576 F.2d at 1219; Corrugated Container, 643 F.2d at 217-

18; Murphy Oil, 472 F. Supp. 2d at 853 (“[C]ourts must independently examine all objections to



262
      See Wheatman Declaration, at ¶ 6; Preliminary Approval Order [Rec. Doc. 22314].

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determine if they have merit and whether they raise questions regarding the fairness of [the]

settlement.”). All of the Objections here must confront the legal headwind that “[o]nce the court

has given preliminary approval, an agreement is presumptively reasonable, and an individual who

objects has a heavy burden of demonstrating that the settlement is unreasonable.” Whitford v. First

Nationwide Bank, 147 F.R.D. 135, 138-39 (W.D. Ky. 1992) (emphasis added); DeHoyos, 240

F.R.D. at 293. Therefore, generalized objections that do not have any factual or legal substantiation

“do not carry weight.” DeHoyos, 240 F.R.D. at 293; In re Deepwater Horizon, 910 F. Supp. 2d at

963-64 (“Certain objections are either so idiosyncratic, incomprehensible, or mislabeled that they

do not warrant detailed consideration.”); 4 Newberg On Class Actions § 11:58 (4th ed.); see also

7B Fed. Prac. & Proc. § 1797.1 (3d ed.) (providing that in class action settlement disputes “[o]nly

clearly presented objections . . . will be considered”).

       At the same time, even substantive objections do not preclude approval of a class

settlement. See Ayers v. Thompson, 358 F.3d 356, 368-73 (5th Cir. 2004) (“That several class

members desire broader relief . . . does not prevent judicial approval of this settlement agreement,

which promises substantial relief to the class.”); In re Deepwater Horizon, 295 F.R.D. at 152

(“Objections that seek to renegotiate terms of the settlement based on individual preferences are

unhelpful and improper.”); Murphy Oil, 472 F. Supp. 2d at 853. Moreover, once the settlement is

determined to be fair, reasonable, and adequate, “the Court is not authorized to insist upon changes

that, in its judgment, might lead to a superior settlement.” In re Deepwater Horizon, 910 F. Supp.

2d at 944.

       Courts have consistently held that relatively few “objections and opt-outs in comparison to

the large size of the class indicate overwhelming support among the Class Members and weigh in

favor of approval” of the settlement as fair, reasonable, and adequate. See In re Lenovo Adware



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Litig., 2019 WL 1791420, at *7 (N.D. Cal. Apr. 24, 2019); Giroux v. Essex Prop. Tr., Inc., 2019

WL 2106587, at *4-5 (N.D. Cal. May 14, 2019) (“The Court finds that the absence of objections

and very small number of opt-outs indicate overwhelming support among the Class Members and

weigh in favor of approval.”); In re Syngenta AG MIR 162 Corn Litig., 357 F. Supp. 3d 1094, 1103

(D. Kan. 2018) (“The fact that the [650,000] class members have reacted so overwhelmingly in

favor of the settlement [17 opt-outs and 9 objections] further supports a finding that the settlement

is fair and reasonable and adequate.”); Educ. Testing, 447 F. Supp. 2d at 626 (“Although the Court

is careful not to infer too much from a lack of objectors, that the class is made up of a relatively

sophisticated group whose claims arise out of a professional examination suggests that the lack of

objections is an indicium of support and not of apathy.”); Murphy Oil, 472 F. Supp. 2d at 853;

Corrugated Container, 643 F.2d at 217-18; DeHoyos, 240 F.R.D. at 293 (“minimal level of

opposition from absent class members weighs in favor of approving the settlement”); Cotton, 559

F.2d at 1333 (approving settlement over objections of counsel purporting to represent almost 50%

of class); Klein, 705 F. Supp. 2d at 661 (“[A]pproval can be given even if a significant portion of

the class objects.”).

        In this case, the Settlement Agreement required Objectors to submit their Objection in

writing to Class Counsel, setting forth all of the reasons therefor, and a statement whether the Class

Member intends to appear at the Fairness Hearing, either with or without counsel.263 Objectors


263
   Settlement Agreement [Rec. Doc. 22305-2], at §§ 10.1.1, 10.1.2, 10.1.6. Class Members Dailyn Martinez
and Russell Moody have expressed an intention to appear at the Fairness Hearing without counsel. See
Martinez Objection [Rec. Doc. 22389-5], at page 4 of 15; Moody Objection [Rec. Doc. 22389-10], at page
3 of 185. Class Member Frederick Yorsch intends to appear with his counsel Andrew Lemmon. See Yorsch
Objection [Rec. Doc. 22389-11], at page 2 of 13. Class Member James Zimmerman intends to appear and
“testify if necessary.” He does not indicate whether his counsel Jimmy Doyle will appear as well.
Zimmerman Objection [Rec. Doc. 22389-22], at page 2 of 3. The nine Objectors represented by David
Horsley of Arthur Edge, PC (Van Foster for Good Ole Boyz, LLC; Theodore and Cynthia Tarver; Robert
Bishop; John Prestridge; Matthew Harper; Kent and Lindsey Archer; Robert Brasher; Chris Cummins; and


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were required to identify any witnesses they intend to call at the Fairness Hearing, 264 the subject

area of the witnesses’ testimony, and all documents to be used or offered into evidence.265 The

Settlement Agreement also required that the Objections be signed by the Class Member and his,

her or its counsel,266 and “[f]ailure to comply timely and fully with these procedures shall result in

the invalidity and dismissal of any objection.”267




Timothy and Sebrina Hall) indicated they do not intend to appear at the Fairness Hearing but they will be
represented by their counsel. See Foster Objection [Rec. Doc. 22389-12]; Tarver Objection [Rec. Doc.
22389-13]; Bishop Objection [Rec. Doc. 22389-15]; Prestridge Objection [Rec. Doc. 22389-16]; Harper
Objection [Rec. Doc. 22389-17]; Archer Objection [Rec. Doc. 22389-18]; Brasher Objection [Rec. Doc.
22389-20]; Cummins Objection [Rec. Doc. 22389-14]; and Hall Objection [Rec. Doc. 22389-19].
Non-Class Member Mary Escudie stated she intends to appear at the Fairness Hearing without her counsel
Parker Waichman, “if it will help [her] case.” Escudie Objection [Rec. Doc. 22389-23], at page 3 of 17.
The remaining Objectors either do not intend to appear or did not indicate a desire to do so.
264
   Settlement Agreement [Rec. Doc. 22305-2], at § 10.1.2. Ms. Martinez is the only Objector who identified
witnesses to be called at the Fairness Hearing: Luis Diaz and Jeasiel Diaz (regarding damages). See
Martinez Objection [Rec. Doc. 22389-5], at page 4 of 15.
265
   Settlement Agreement [Rec. Doc. 22305-2], at § 10.1.2. Ms. Martinez identified the following exhibits
in her Objection: Contractor’s Estimate; Photographs; Drywall Inspections; Health Reports; Rental
Contracts; Property Damage Receipts; Estimated Gross Allocation; Chinese Drywall Pamphlet; SPPF;
Deposition Transcript. See Martinez Objection [Rec. Doc. 22389-5], at page 4 of 15.
Mr. Moody identified the following exhibits in his Objection: Class Settlement Agreement; Motion to
Protect the Amorin Class [Rec. Doc. 22135-1]; Allocation Model; Plaintiffs’ Motion to Adopt Plan for
Resolution of Florida Amorin Plaintiffs (FLSD ECF No. 52); Moody letter to Judge Fallon dated November
13, 2019; Moody letter to Judge Fallon dated October 13, 2019 (and attachments); Transcript of monthly
status conference, October 23, 2019; March 29, 2018 New Orleans City Business article Judge: Return
Chinese drywall lawsuits to original states; August 20, 2019 CISION PR Newswire article Plaintiffs’
Steering Committee: Settlement Announced in Decade-Old Chinese Drywall Litigation Lawsuits. See
Moody Objection [Rec. Doc. 22389-10], at page 12 of 185.
Neither Mr. Yorsch nor Mr. Zimmerman identified any documents to be offered into evidence. See Yorsch
Objection [Rec. Doc. 22389-11]; Zimmerman Objection [Rec. Doc. 22389-22].
266
      Id. at § 10.1.3. See also note 235, supra, regarding Objections of Clay, Helmick and Hemming.
267
   Id. at § 10.2; Preliminary Approval Order [Rec. Doc. 22314]. The following Objections were filed on
the MDL docket by Attorney Jimmy Doyle: (1) Dominesha Clay, (2) Kenneth Randall and Alicia Doherty,
(3) Stephen and Bonita Hemming and (4) Pamela Rigsby and Irene Page. Class Counsel did not receive
these objections via USPS, and the Clay and Hemming Objections were not signed by the Class Member.
Moreover, Ms. Rigsby and Ms. Page do not have standing to object as they have opted out of the Settlement.
See Section III.G.5, infra.

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       Despite sufficient notice to Class Members advising them of their rights to object or opt

out of the Settlement, only 22 Objections were submitted by Class Members during the Notice

Period. Significantly, none of the Objections shows any defect in the settlement process or

inadequacy of representation of the Class. No Objection demonstrates that the Settlement is unfair

or inadequate as a whole, and for those reasons, the Objections do not warrant a denial of the

motion to grant final approval to the Settlement.

       If approved, the thousands of Class Members who support the Settlement will finally

receive payments after more than a decade of litigation. The suggestion of a small number of

Objectors to prolong this Litigation any further is troublesome. Even if some individual members

of the Class were to ultimately prevail on all issues at trial, the recovery, if collected, would be

delayed for years, and greatly diminished by the costs of continued litigation. If any of the Plaintiffs

truly desired to obtain the relief they believe they deserve and could obtain, they could have opted

out of the Settlement and continued to litigate their individual cases.

               5.      Non-Class Members Lack Standing to Object to the Settlement.

       In the context of class settlements, non-settling parties generally have no standing to

challenge the proposed settlement. In re Deepwater Horizon, 910 F. Supp. 2d at 941 (citing

Transamerican Refining Corp. v. Dravo Corp., 952 F.2d 898, 900 (5th Cir. 1992); Agretti v. ANR

Freight Sys., Inc., 982 F.2d 242, 246 (7th Cir.1992); In re Vioxx Prods. Liab. Litig., 388 Fed. Appx.

391, 395 (5th Cir. 2010)). Plaintiffs falling outside the settlement class are entirely unaffected by

the Settlement, and thus lack standing to challenge it. Id. (citing Feder v. Electronic Data Systems

Corp., 248 Fed. Appx. 579, 580 (5th Cir.2007); Gould v. Alleco, Inc., 883 F.2d 281, 284 (4th

Cir.1989); 4 Newberg On Class Actions § 11:55 (4th ed.)); see also 4 Newberg On Class Actions

§ 13:22 (5th ed.). Two Plaintiffs who were expressly excluded from the Class (Michael Guerriero



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and Mary Escudie) submitted purported objections. As discussed in more detail below, because

neither of these Plaintiffs has standing to object, their objections should be denied.

           The Settlement Agreement expressly excludes from the Class: “(1) Plaintiffs listed on

Exhibit 1 (Exhibit 1 includes 498 Plaintiffs who are included in a separate settlement agreement

with Taishan); (2) the named Plaintiff and putative class members in The Mitchell Co., Inc. v.

Knauf Gips KG, et al., Civil Action No. 09-4115 (E.D. La.); and (3) Plaintiffs who asserted Claims

against Taishan and/or the Additional Released Parties, but whose Claims were dismissed for

failure to complete a [SPPF] or by motion for voluntary dismissal.”268

           Similarly, “class members who have opted out of a 23(b)(3) class action have no standing

to object to a subsequent class settlement; by opting out they escape the binding effect of the class

settlement.” In re Vitamins Antitrust Class Actions, 215 F.3d 26, 28-29 (D.C. Cir. 2000) (internal

quotations omitted); see also Carter v. Forjas Taurus, S.A., 2016 WL 3982489, at *13 (S.D. Fla.

July 22, 2016) (“[I]t is well-established that ‘class members may either object or opt out, but they

cannot do both.’”) (quoting 4 Newberg On Class Actions § 13:23 (5th ed.)). Pamela Rigsby and

Irene Page (co-owners of an Affected Property) opted out of the Settlement during the Notice

Period,269 yet, nevertheless submitted a purported objection “on behalf of those who do not opt

out.”270 Similarly, Patricia Gottlieb submitted an Objection,271 but then, after considering her




268
   Preliminary Approval Order [Rec. Doc. 22314], at ¶ 3; Settlement Agreement [Rec. Doc. 22305-2], at §
1.1.1.
269
      See Notice of Filing of Opt-Outs [Rec. Doc. 22388-20].
270
      See Rigsby Objection [Rec. Docs. 22379-5 and 22389-25].
271
   Ms. Gottlieb objected to the Settlement on the grounds that it did not provide remediation formula
damages to all Class Members, and she contested the division of her Allocation Amount as to the
condominium association.


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options, timely elected to opt out of the Settlement.272 As discussed in more detail below, because

these Plaintiffs do not have standing to object, their Objection should be denied.

          As non-Class Members, the following Objectors lack standing to object to the Settlement:

                          a.      Michael Guerriero

          Michael Guerriero submitted a purported objection to being excluded from the Settlement

for failing to timely submit an SPPF.273 However, Mr. Guerriero’s exclusion from the Class is not

simply due to his failure to submit an SPPF, but also because his claim was judicially dismissed

with prejudice at the direction of his individual counsel Parker Waichman.274 Now that a Class

Settlement has been reached, Mr. Guerriero seeks to revive his dismissed claims by contending

that medical issues he sustained in December 2017 prevented him from timely submitting an SPPF

in March 2018. But his recourse, if any, was to file a motion to vacate his October 2018 dismissal

under Federal Rule of Civil Procedure 60, not utilize the settlement process as a means of

effectuating such an outcome.




272
      See Gottlieb Objection [Rec. Doc. 22389-26]; see also Gottlieb Opt-Out [Rec. Doc. 22388-92].
273
      See Guerriero Objection [Rec. Doc. 22389-24].
274
    Mr. Guerriero’s claims were filed on the Amorin complaint and remanded to Judge Cooke in the
Southern District of Florida on October 11, 2018. Upon remand, Defendants filed a Motion to Dismiss
(FLSD ECF No. 62) certain claimants for failure to file SPPFs by the deadline prescribed by this Court –
March 20, 2018 [Rec. Doc. 21162] and pursuant to the Florida Trial Plan Order [Rec. Doc. 21933-1].
Common benefit counsel working under the direction of Class Counsel notified individual counsel for each
claimant subject to the Motion to Dismiss, including counsel for Mr. Guerriero Parker Waichman, that the
motion was pending and we sought their position with regard to the motion. Francisco Albites of Parker
Waichman responded that Mr. Guerriero “instructed us to close his case,” and, thus, Mr. Guerriero was
included on a Motion to Voluntarily Dismiss Certain Claims with prejudice (FLSD ECF No. 81) (email
authorizing dismissal and motion to dismiss attached hereto, collectively, as Exhibit “26”). Judge Cooke
judicially dismissed the claims of Mr. Guerriero and hundreds of other Plaintiffs on October 17, 2018
(FLSD ECF No. 96) [Rec. Doc. 21888-1]; see also MDL Order Dismissing Mr. Guerriero’s Claims [Rec.
Doc. 21894].


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           Unfortunately, Mr. Guerriero has no pending Chinese Drywall claims against Taishan or

the Additional Released Parties and he is not a member of the Settlement Class. His Objection

should be denied.

                          b.      Mary Escudie

           Mary Escudie has likewise objected to the Settlement because she was definitionally

excluded from the Class.275 She is one of the 498 Florida Amorin Plaintiffs who were offered

separate individual settlements from Taishan prior to the negotiation of the Class Settlement – an

individual offer that remained open throughout virtually the entire Class Notice Period. Her

counsel Parker Waichman and Jimmy Faircloth negotiated this separate settlement on her behalf

months before Class Counsel engaged in negotiations with Taishan for the remaining claimants.

Mr. Faircloth represented to this Court that the Florida Individual Settlement (“FIS”) “provides

each and every Participating Plaintiff an individual offer of settlement based on a formula that

carefully balances the strengths and weaknesses of each case on the merits and the shared benefits

and risks of continuing litigation.”276 On May 31, 2019, Parker Waichman filed their

communications with the FIS Plaintiffs under seal for in camera review by Judge Cooke.277




275
   See Escudie Objection [Rec. Doc. 22389-23]. Ms. Escudie asserts: “I am uncertain why or how I was
excluded from this class late in the process and why others were not. I declined the alternative settlement
offer so I believe I should be reinstated as a Known Class Member.” Id. at page 3 of 17.
276
      See Motion to Lift PTO 32 [Rec. Doc. 22126], at 2.
277
    See Notice of Filing Confidential and Privileged Communications Regarding the Prior Florida
Settlements Under Seal and for In Camera Review and Exhibit thereto (FLSD ECF No. 310). Apparently,
in the Notice letters issued by Mr. Faircloth to Parker Waichman’s individual clients regarding the FIS, he
“informed clients that they would remain as member of the Amorin Class if they declined the settlement
offer” from Taishan, see Declaration of Jimmy R. Faircloth, Jr. (FLSD ECF No. 337-2) [Rec. Doc. 22341-
1], at ¶ 12, which is perhaps the source of Ms. Escudie’s confusion as to why she was excluded from the
Settlement Class.


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           At the hearing before Judge Cooke on June 5, 2019, Mr. Faircloth appeared on behalf of

Parker Waichman and its clients in this Litigation, including Ms. Escudie, as well all other

Plaintiffs who were offered the FIS by Taishan.278 Both Taishan and Mr. Faircloth confirmed that

these individual cases would go forward in the event any Plaintiff declined the offer from

Taishan.279

           Mr. Faircloth had previously informed Class Counsel that they had “no authority to speak

for Parker Waichman’s clients.”280 On April 18, 2018, Parker Waichman filed an objection to

Class Counsel’s Notice of Mediation “and any resulting mediation implicating the rights of Parker

Waichman’s clients under the settlement offer made by the Taishan entities.”281

           Nevertheless, Mr. Faircloth was present at the mediation of the Class Settlement (he signed

in on behalf of all 498 Plaintiffs in the FIS), although he did not participate in any of the class

settlement negotiations.

           Despite her exclusion from the Class Settlement, Ms. Escudie has not been prejudiced.

First, she was not prejudiced because she had a full settlement opportunity negotiated by her

counsel that would have placed her on the same financial terms as the Class Members in the later-

negotiated Class Settlement. As Ms. Escudie has acknowledged, her FIS offer included a “[Most

Favored Nations] clause that suggests that if the [Class] settlement exceeds the current offer by




278
   See Transcript of Motions Hearing dated 6/5/2019 (FLSD ECF No. 315) [Rec. Doc. 22303-3], at 4. Mr.
Faircloth expressly confirmed that he was speaking at this hearing on behalf of the 498 Plaintiffs who are
involved in the FIS. Id. at 11 (“I’m speaking for the 498. Yes, Your Honor.”).
279
   Id. (“[I]f they do not choose to reach a settlement agreement with us, then those [Plaintiffs] will be
handled just like any other individual claim would be.”).
280
      Transcript of Status Conf. before Judge Cooke dated 7/13/2018 (FLSD ECF No. 40), at 22.
281
      Notice of Objection to Mediation (FLSD ECF No. 239) (attached hereto as Exhibit “27”), at 1.


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110% we can go back and request more funds.”282 That provision was specifically negotiated to

protect Ms. Escudie (and the other 497 recipients of the FIS offers) against the very complaint she

now makes – i.e., that the difference between the rejected FIS settlement value and the Class

Settlement value is “significant.”283 The Most Favored Nation clause of the FIS would have

ensured that no difference (significant or otherwise) existed between Ms. Escudie’s individual

settlement value and the value recovered by her comparable peers in the Class Settlement. But Ms.

Escudie has now rejected the FIS offer that would have made her “whole” vis-à-vis the Class

Settlement, and she seeks to gain entry into a later-negotiated Class Settlement in which she cannot

participate. None of the other 497 recipients of the FIS offers made that choice. Therefore, Ms.

Escudie has foreclosed her settlement opportunity that would have placed her financially in the

same shoes as if she had been a Settlement Class Member.

            Second, Ms. Escudie has not been prejudiced regarding her ability to continue to prosecute

her claim. Both Taishan and Mr. Faircloth have confirmed that any Amorin Plaintiff who did not

accept the FIS will have their claims heard before Judge Cooke in the Southern District of Florida.

The Florida Court has scheduled a status conference on January 8, 2020, to address the scheduling

of trials for any remaining Florida Amorin cases (from the 498 FIS matter and opt-outs from the

Class Settlement).284 In fact, Ms. Escudie is the only claimant out of the 498 claimants who

received an FIS offer who did not accept it. Therefore, as intended, Ms. Escudie’s claims will

proceed individually before Judge Cooke in relatively short order.




282
      Escudie Objection at [Rec. Doc. 22389-23], at page 3 of 17.
283
      Id.
284
      FLSD ECF No. 356.


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                           c.      Attorney Jimmy Doyle

           Attorney Jimmy Doyle does not have standing to object. By the terms of the Settlement

Agreement, “[a]ny class member who objects to approval of this Settlement . . . must make that

objection by the following procedure . . . .”285 Jimmy Doyle is not, and has never been, a Class

Member. He is not a Plaintiff in the Litigation, and under the Settlement, he is not permitted to

object on behalf of unspecified Class Members who did not sign the objection, and he continues

to represent Class Members who support the Settlement. The Settlement Agreement specifically

states, “an objection signed by counsel alone shall not be sufficient.”286

           Moreover, Mr. Doyle represents 96 Amorin Class Members and 168 Brooke Plaintiffs who

support the Settlement. His purported objection seeks to equalize the recoveries of all Plaintiffs

regardless of their status as an Amorin Class Member, a Brooke Plaintiff, or an absent Class

Member, because according to Mr. Doyle, “All Covered Chinese Drywall claims are similarly

situated.”287 This contention not only belies the evidence of record and ignores the rulings of the

Courts in this Litigation, but if successful, each of the 96 Amorin Plaintiffs represented by Mr.

Doyle could receive significantly less than their current estimated recoveries. Mr. Doyle has placed

himself in a conflict situation: he represents 264 Class Members who support the Settlement; he

has solicited numerous opt-outs (4 Amorin Plaintiffs; 71 Brooke Plaintiffs; and 12 absent Class

Members288); and he represents 6 Objectors to the Settlement (not including Pamela Rigsby and




285
      Settlement Agreement [Rec. Doc. 22305-2], at § 10.1 (emphasis added).
286
   Preliminary Approval Order [Rec. Doc. 22314], at ¶ 17; Settlement Agreement [Rec. Doc. 22305-2], at
§ 10.1.3.
287
      Doyle Objection [Rec. Doc. 22378], at 2.
288
      In addition, he solicited an opt out from a non-Class Member, Juana Martinez. See note 185, supra.


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Irene Page or Patricia Gottlieb, who opted out)).289 And his argument regarding adequacy of the

Settlement Fund fails for the same reasons set forth above.290 If his clients thought they should

recover more, their solution was to opt out, not upend an agreement for thousands of others who

seek imminent closure.

           Mr. Doyle’s attempt to object “on behalf of all Plaintiffs affected by the terms contained

in the proposed Taishan Class Settlement”291 should be summarily denied.

                                                  *   *    *

           Importantly, none of the Objectors takes into account the risks of continued litigation

against the foreign Defendants and issues of collectability. The Objectors conveniently ignore that

the Settlement provides the Class with timely, certain, and meaningful recovery, while further

litigation and any subsequent appeals are uncertain and would entail significant additional costs

and substantially delay any recovery achieved. A careful examination of these Objections reveals

no reason to deny final approval to the Settlement. Moreover, any of these Class Member Objectors

could have opted-out if they thought they could achieve a better result through litigation. As

pointed out in the Manual for Complex Litigation, “[a]n opportunity to opt out after the settlement

terms are known ... might reduce the need to provide procedural support to objectors or to rely on

objectors to reveal deficiencies in a proposed settlement. Class members who find the settlement

unattractive can protect their own interests by opting out of the class.” Manual for Complex

Litigation § 21.643 (4th ed.); see also Murphy Oil, 472 F. Supp. 2d at 856 n.21. Thus, there is

nothing in any of these Objections that warrants a denial of final approval of the Settlement.




289
      See Notice of Filing of Opt-Outs [Rec. Doc. 22388]; Notice of Filing of Objections [Rec. Doc. 22389].
290
      See supra at Section III.G.2.
291
      Doyle Objection [Rec. Doc. 22378], at page 1.

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IV.    CONCLUSION

       The law favors settlements; and thus the settlement of thousands of claims against foreign

manufacturers, in multi-state litigation with a long and complex history as well as an uncertain

future, surely deserves the law’s special favor. For all of the reasons set forth above, Settlement

Class Counsel respectfully request that the Court enter the accompanying Rule 54(b) Order and

Judgment: (1) granting final approval to the Settlement pursuant to Fed. R. Civ. P. 23(e)(2); (2)

certifying the Settlement Class pursuant to Fed. R. Civ. P. 23(a), (b)(3) & (e); (3) finding that

Notice was issued in accordance with the Court’s Preliminary Approval Order, satisfying Fed. R.

Civ. P. 23 and Due Process; (4) approving the Class Release and bar order in the Settlement; (5)

approving the Taishan Release in the Settlement; (6) overruling all Objections filed in opposition

to the Settlement; and (7) granting incentive awards to the Priority Plaintiffs, the Select Claimants,

and the Settlement Class Representatives. The Parties also seek entry of the accompanying Order

dismissing all Claims of Settlement Class Members who did not opt out in the Litigation and

CDW-Related Actions. Filed herewith are Class Counsel’s proposed Findings of Fact and

Conclusions of Law.

                                               Respectfully submitted,


Dated: December 6, 2019                    By: /s/ Stephen J. Herman
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                                              Leonard A. Davis (Bar No. 14190)
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                                CERTIFICATE OF SERVICE


       I hereby certify that the above and foregoing has been served on Defendants’ Liaison

Counsel, Kerry Miller, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties

by electronically uploading the same to LexisNexis File & Serve in accordance with Pre-Trial

Order No. 6, which will serve a notice of the uploading in accordance with the procedures

established in MDL 2047, on this 6th day of December, 2019.

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